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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
DONALD J. TRUMP FOR                        )   CIVIL ACTION
PRESIDENT, INC.; LAWRENCE                  )
ROBERTS; and                               )
DAVID JOHN HENRY;                          )
                                           )
              Plaintiffs,                  )
                                           )   No. 20-CV-02078
     v.                                    )
                                           )
KATHY BOOCKVAR, in her capacity            )
as Secretary of the Commonwealth of        )
Pennsylvania; ALLEGHENY                    )
COUNTY BOARD OF ELECTIONS;                 )
CENTRE COUNTY BOARD OF                     )
ELECTIONS; CHESTER COUNTY                  )
BOARD OF ELECTIONS;                        )
DELAWARE COUNTY BOARD OF                   )
ELECTIONS; MONTGOMERY                      )
COUNTY BOARD OF ELECTIONS;                 )
NORTHAMPTON COUNTY BOARD                   )
OF ELECTIONS; and                          )
PHILADELPHIA COUNTY BOARD                  )
OF ELECTIONS;                              )

              Defendants.


                   SECOND AMENDED VERIFIED COMPLAINT FOR

                     DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiffs, by their undersigned counsel, hereby complain of Defendants as

   follows:



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                                 INTRODUCTION

   1.     American citizens deserve fair and unbiased elections. Every legal –

not illegal – vote should be counted. And no government power, be it state or

federal, may deny any American citizens the right to observe the process by

which votes are cast, processed, and tabulated. We must protect our democracy

with complete transparency.

   2.     Nothing less than the integrity of the 2020 Presidential election is at

stake in this action. These Defendants are the very officials charged with

ensuring the integrity of the election in Pennsylvania and have so mismanaged

the election process that the public cannot have any faith that their most sacred

and basic rights under the United States Constitution are being protected.

   3.     The evidence is plain that Defendants have blatantly violated the

protections and procedures, including those enacted by the Pennsylvania

General Assembly, vitally necessary to ensure that the votes of the citizens of

Pennsylvania are not illegally diluted by invalid ballots and that the election is

free and fair.

   4.     While the bedrock of American elections has been transparency,

almost every critical aspect of Pennsylvania’s November 3, 2020 General

Election was effectively shrouded in secrecy. Democratic-majority controlled

Defendant county board of elections provided political parties and candidates,



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    including the Trump Campaign, no meaningful access or actual opportunity to

    review and assess mail-in ballots during the pre-canvassing meetings in order to

    favor Joseph Biden over President Donald J. Trump.

       5.      Allegheny and Philadelphia Counties alone received and processed

    682,479 mail-in and absentee ballots without review by the political parties and

    candidates. These are unprecedented numbers in Pennsylvania’s elections

    history. Rather than engaging in an open and transparent process to give

    credibility to Pennsylvania’s brand-new voting system, the processes were

    hidden during the receipt, review, opening, and tabulation of those 682,479

    votes in direct contravention of the Election Code.

       6.      Allegheny and Pennsylvania counties conducted the canvassing and

    tabulation in convention center rooms and placed observers far away from the

    statutorily-required, witnessed verification procedures. In the case of

    Philadelphia County, when an emergency order was issued requiring them to

    provide meaningful access to representatives, Philadelphia failed to comply.

       7.      Incredibly the Pennsylvania Supreme Court1 ruled, in a five to two

    November 17, 2020 Opinion that the Commonwealth’s current definition of


1
 The Pennsylvania Supreme Court is elected through partisan elections and consists of five
Democrats and two Republicans. It has authored at least three decisions in 2020 which are
viewed as highly partisan, including this decision, in contradiction of briefing submitted by the
Pennsylvania State Senate and House of Representatives explaining the meaning of statutes
which they enacted, including laws enacted as recently as 2019. Under Bush v. Gore, this Court
may choose not to follow these decisions and interpret Pennsylvania law independently.


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“observer” under the state election code is hereby re-defined as “present in the

same building.” The majority concluded that the Commonwealth “did not act

contrary to law in fashioning its regulations governing the positioning of

candidate representatives during the precanvassing and canvassing process, as

the Election Code does not specify minimum distance parameters for the

location of such representatives.” In Re: Canvassing Operation Appeal of: City

of Philadelphia Board of Elections, PA Supreme Court, No. 30 EAP 2020

(November 17, 2020) at p. 19. The Pennsylvania Supreme Court now departs

from Pennsylvania’s long-standing practice and concept of observers in the

process in the middle of a Presidential election.

   8.    Democratic controlled counties violated the mandates of the Election

Code and the determinations of the Pennsylvania Supreme Court, advantaging

voters in Democratic-heavy counties as compared to those in Republican-heavy

counties. Democratic controlled counties engaged in pre-canvass activities prior

to November 3, 2020, by reviewing received mail-in ballots for deficiencies,

such as lacking the inner secrecy envelope or lacking a signature of the elector

on the outer declaration envelope. Those offending Counties then would notify

those voters in order to allow them to cure their ballot deficiencies by voting

provisionally on Election Day or cancelling their previously mailed ballot and

issuing a replacement. In other words, those counties provided their mail-in



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voters with the opportunity to cure mail-in and absentee ballot deficiencies,

while Republican controlled counties followed the law and did not provide a

notice and cure process.

   9.     Pennsylvania County Boards of Elections in Republican-leaning

counties, such as York County, provided watchers and representatives of

candidates and political parties, including without limitation watchers and

representatives from both the Trump Campaign and the Biden Campaign, with

appropriate access to view absentee and mail-in ballots being pre-canvassed and

canvassed by those Boards and without restricting representatives by any

county residency or Pennsylvania bar licensure requirements.

   10.    The commonality and statewide nature of these irregularities impacts

the elections.

   11.    “The right to vote is protected in more than the initial allocation of the

franchise. Equal protection applies as well to the manner of its exercise. Having

once granted the right to vote on equal terms, the State may not, by later

arbitrary and disparate treatment, value one person’s vote over that of another.”

Bush v. Gore, 531 U.S. 98, 104-05 (2000). All citizens, including

Pennsylvanians, have rights under the United States Constitution to the full,

free, and accurate elections built upon transparency and verifiability. Citizens




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are entitled – and deserve – to vote in a transparent system that is designed to

protect against vote dilution.

   12.    As evidenced by numerous sworn statements, Defendants egregious

misconduct has included ignoring legislative mandates concerning mail-in

ballots – which amounted to over 2.6 million of the approximately 6.75 million

votes in Pennsylvania – including the mandate that mail-in ballots be post-

marked on or before Election Day, and critically, preventing Trump Campaign

and other Republican poll watchers from observing the receipt, review,

opening, and tabulation of mail-in ballots. Those mail-in ballots are evaluated

on an entirely parallel track to those ballots cast in person.

   13.    On Election Day, when the Trump Campaign and other Republicans’

poll watchers were present and allowed to observe in various polling locations

throughout the Commonwealth, they observed and reported numerous instances

of election workers failing to follow the statutory mandates relating to two

critical requirements, among other issues: (1) a voter’s right to spoil their mail-

in ballot at their polling place on election day and to then vote in-person, and

(2) the ability for voters to vote provisionally on election day when a mail-in

ballot has already been received for them, but when they did not cast those

mail-in ballots.




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   14.    Additionally, Plaintiffs have learned that certain County Election

Boards were mailing unsolicited mail-in ballots to voters even though they had

not applied for a mail-in ballot for the General Election, thus resulting in voters

who received two ballots. The offending counties also failed to undertake any

effort to ensure destruction of the duplicate ballots.

   15.    The right to vote includes not just the right to cast a ballot, but also the

right to have it fairly counted if it is legally cast. The right to vote is infringed if

a vote is cancelled or diluted by a fraudulent or illegal vote, including without

limitation when a single person votes multiple times. The Supreme Court of the

United States has made this clear in case after case. See, e.g., Gray v. Sanders,

372 U.S. 368, 380 (1963) (every vote must be “protected from the diluting

effect of illegal ballots.”); Crawford v. Marion Cnty. Election Bd., 553 U.S.

181, 196 (2008) (plurality op. of Stevens, J.) (“There is no question about the

legitimacy or importance of the State’s interest in counting only the votes of

eligible voters.”); accord Reynolds v. Sims, 377 U.S. 533, 554-55 & n.29

(1964). The disparate treatment of Pennsylvania voters, in subjecting one class

of voters to greater burdens or scrutiny than another, violates Equal Protection

guarantees because “the right of suffrage can be denied by a debasement or

dilution of the weight of a citizen’s vote just as effectively as by wholly

prohibiting the free exercise of the franchise.” Reynolds, 377 U.S. at 555.



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   16.    In a rush to count mail ballots and ensure Democrat Joe Biden is

elected, Pennsylvania created an illegal two-tiered voting system for the 2020

General Election, devaluing in-person votes. Voters who appeared at the polls

were required to sign voter registrations, have those signatures checked against

voter rolls, vote in a polling place monitored by statutorily authorized poll

observers, and have their votes counted in a transparent and verifiable open and

observed manner. By contrast, due to the arbitrary, unauthorized, and

standardless actions of the Secretary of the Commonwealth of Pennsylvania,

Kathy Boockvar, nearly 2.65 million votes were cast through a “mail in”

process that lacked all of the hallmarks of transparency and verifiability that

were present for in-person voters. In fact, Secretary Boockvar affirmatively

excised nearly every element of transparency and verifiability. Among other

things, the Secretary refused to require adequate verification of the voter’s

identity. Rather than require votes to be received on the day of election, the

Secretary permitted ballots received up to three days after the election to be

counted without any evidence of timely mailing, such as a postmark. Finally,

contrary to the in-person voting, which is open and transparent to the parties

and the candidates, Defendants permitted review and counting mail-in ballots

with no monitoring by the Trump witnesses. With the recent Opinion, the

Pennsylvania Supreme Court joins these other elected and appointed officials in



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re-interpreting the plain language of a statute that they distort the plain meaning

of the verb: “to observe. Multiple branches of the Pennsylvania Government

have now usurped the Pennsylvania legislature’s Constitutional role as

promulgator of the rules for Presidential Electors. In Re: Canvassing Operation

Appeal of: City of Philadelphia Board of Elections, PA Supreme Court, No. 30

EAP 2020 (November 17, 2020).

   17.    Through the arbitrary and illegal actions of the Secretary,

Pennsylvania created a two-track system of voting resulting in voters being

treated differently depending on how they chose to exercise their franchise. The

first, marked by voters appearing personally at the polls complied with

transparency and verifiability requirements of Pennsylvania Election Code. The

second, marked by a mass of paper ballots received through the mail, was

cloaked in darkness and complied with none of those transparency and

verifiability requirements. This two-track election system not only violates

Plaintiffs’ rights guaranteed by the United States Constitution, but also violates

the structure of the Constitution that elections in the States must be carried out

as directed solely by their respective legislatures and not by any other entity.

   18.    Accordingly, Plaintiffs seek an emergency order prohibiting

Defendants from certifying the results of the Presidential General Election. In

the alternative, Plaintiffs seek an emergency order prohibiting Defendants from



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certifying any results from the Presidential General Election that included

tabulation of absentee and mail-in ballots that do not comply with the Election

Code, including, without limitation, tabulation of absentee and mail-in ballots

Trump Campaign’s watchers were prevented from observing or based on the

tabulation of invalidly cast absentee and mail-in ballots that (i) lack a secrecy

envelope, or contain on such envelope any text, mark, or symbol that reveals

the elector’s identity, political affiliation, or candidate preference; (ii) do not

include on the outside envelope a completed declaration dated and signed by

the elector or; (iii) are delivered in-person by third parties for non-disabled

voters.

      Ultimately, Plaintiffs seeks a permanent injunction requiring the County

Election Boards to invalidate ballots cast by voters in violation of the

Pennsylvania election code, including voters who were improperly given an

opportunity to cure and voters whose mail ballots did not comply with

Pennsylvania’s stringent requirements for signatures, dates, and secrecy ballots

– ballots which the Trump Campaign and other Republican observers could not

observe because they were excluded from observation. The Trump Campaign

believes that statistical analysis will evidence that over 70,000 mail and other

mail ballots which favor Biden were improperly counted – sufficient to turn the

election – a remedy expressly applied in Marks v. Stinson, Civ. A. No. 93-6157,



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1994 U.S. Dist. LEXIS 5273, at *78 (E.D. Pa. Apr. 26, 1994) which was later

affirmed without opinion by the Third Circuit Court of Appeals.

                          JURISDICTION AND VENUE

   19.    Under 28 U.S.C. §§ 1331 & 1343, this Court has subject matter

jurisdiction because this action arises under the Constitution and laws of the

United States and involves a federal election for President of the United States.

“A significant departure from the legislative scheme for appointing Presidential

electors presents a federal constitutional question.” Bush, 531 U.S. at 113

(Rehnquist, C.J., concurring); Smiley v. Holm, 285 U.S. 355, 365 (1932). Also,

this Court has supplemental jurisdiction over any state law claims under 28

U.S.C. § 1367.

   20.    Venue is proper because a substantial part of the events giving rise to

the claims occurred in this District, and certain of the Defendants reside in this

District and all of the Defendants are residents of the Commonwealth of

Pennsylvania in which this District is located. 28 U.S.C. § 1391(b) & (c).

                                     PARTIES

   21.    Plaintiff Donald J. Trump for President, Inc. (hereinafter, the “Trump

Campaign”), is the principal committee for the reelection campaign of Donald

J. Trump, the 45th President of the United States of America (hereinafter,

“President Trump”). President Trump is the Republican nominee for the office



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of the President of the United States of America in the November 3, 2020

General Election. The Trump Campaign brings this action for itself and on

behalf of its candidate, President Trump. As a political committee for a federal

candidate, the Trump Campaign has Article III standing to bring this action.

See, e.g., Orloski v. Davis, 564 F. Supp. 526, 530-31 (M.D. Pa. 1983). See also

Tex. Democratic Party v. Benkiser, 459 F.3d 582, 587-588 (5th Cir. 2006)

(“[A]fter the primary election, a candidate steps into the shoes of his party, and

their interests are identical.”); In re General Election- 1985, 531 A.2d 836, 838

(Pa. Commw. Ct. 1987) (A candidate for office in the election at issue suffers a

direct and substantial harm sufficient for standing to contest the manner in

which an election will be conducted). As a direct and proximate result of the

actions of the Defendants and each of them, the Trump Campaign has been

injured in a way that concretely impacted its rights under the Fourteenth

Amendment Due Process Clause; the Fourteenth Amendment Equal Protection

Clause; the Elections Clause of Article I, § 4; and the Electors Clause of Article

II, § 1 of the Constitution of the United States as more fully set forth herein.

   22.    Plaintiff David John Henry (hereinafter, “Mr. Henry”) is an adult

individual who is a qualified registered elector residing in West Hempfield

Township, Lancaster County, Pennsylvania. Mr. Henry constitutes a “qualified

elector” as that term is defined in Election Code Section 102(t), 25 P.S. §



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2602(t), and has brought this matter not only as a private citizen and “qualified

elector” but also, and more importantly, as an injured party. As a qualified

elector, registered voter and injured party, Mr. Henry has Article III standing to

bring this action. See Orloski, 564 F. Supp. at 530; Pierce, 324 F. Supp. 2d at

692-93. As a direct and proximate result of the actions of the Defendants and

each of them, the Mr. Henry has been injured in a way that concretely impacted

his rights under the Fourteenth Amendment Due Process Clause; the Fourteenth

Amendment Equal Protection Clause of the Constitution of the United States as

more fully set forth herein.

   23.    Plaintiff Lawrence Roberts (hereinafter, “Mr. Roberts”) is an adult

individual who is a qualified registered elector residing in Uniontown, Fayette

County, Pennsylvania. Mr. Roberts constitutes a “qualified elector” as that term

is defined in Election Code Section 102(t), 25 P.S. § 2602(t) and has brought

this matter not only as a private citizen and “qualified elector” but also, and

more importantly, as an injured party. As a qualified elector, registered voter

and injured party, Mr. Roberts has Article III standing to bring this action. See

Orloski, 564 F. Supp. at 530; Pierce, 324 F. Supp. 2d at 692-93. As a direct and

proximate result of the actions of the Defendants and each of them, the Mr.

Roberts has been injured in a way that concretely impacted his rights under the

Fourteenth Amendment Due Process Clause; the Fourteenth Amendment Equal



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Protection Clause of the Constitution of the United States as more fully set forth

herein.

   24.      Defendant Secretary Boockvar (hereinafter, “Secretary Boockvar”) is

the Secretary of the Commonwealth. In this role, Secretary Boockvar leads the

Pennsylvania Department of State. As Secretary, she is Pennsylvania’s Chief

Elections Officer and a member of the Governor’s Executive Board. The

Pennsylvania Constitution vests no powers or duties in Secretary Boockvar.

Perzel v. Cortes, 870 A.2d 759, 764 (Pa. 2005). Instead, her general powers and

duties concerning elections are set forth in Election Code Section 201, 25 P.S. §

2621. Under the Election Code, Secretary Boockvar acts primarily in a

ministerial capacity and has no power or authority to intrude upon the province

of the Pennsylvania General Assembly. Perzel, 870 A.2d at 764; Hamilton v.

Johnson, 141 A. 846, 847 (Pa. 1928). Secretary Boockvar is sued in her official

capacity.

   25.      Defendants Allegheny, Centre, Chester, Delaware, Philadelphia,

Montgomery, and Northampton County Board of Elections (collectively

hereinafter, the “County Election Boards”) are the county boards of elections in

and for the aforementioned counties of the Commonwealth of Pennsylvania as

provided by Election Code Section 301, 25 P.S. § 2641. The County Election

Boards “have jurisdiction over the conduct of primaries and elections in such



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count[ies], in accordance with the provision of [the Election Code.]” Id. at §

2641(a). The County Election Boards’ general powers and duties are set forth in

Election Code Section 302, 25 P.S. § 2642. The County Election Boards are

executive agencies that carry out legislative mandates, and their duties

concerning the conduct of elections are purely ministerial with no exercise of

discretion. Shroyer v. Thomas, 81 A.2d 435, 437 (Pa. 1951); Perles v. Hoffman,

213 A.2d 781, 786 (Pa. 1965) (Cohen, J., concurring). See also Deer Creek

Drainage Basin Authority v. County Bd. of Elections, 381 A.2d 103, 109 (Pa.

1977) (Pomeroy, J., dissenting) (“A board of elections, it has been well said,

“does not sit as a quasi-judicial body adjudicating contending forces as it

wishes, but rather as an executive agency to carry out legislative mandates. Its

duties are ministerial only.”); In re Municipal Reapportionment of Township of

Haverford, 873 A.2d 821, 833, n.18 (Pa. Commw. Ct. 2005) (“The duties of a

board of elections under the Election Code are ministerial and allow for no

exercise of discretion.”), appeal denied 897 A.2d 462 (Pa. 2006).

                               FACTUAL ALLEGATIONS

         I.      Federal Constitutional Protections for Free and Fair Public

                                       Elections.

   26.        Free, fair, and transparent public elections are crucial to democracy –

a government of the people, by the people, and for the people.



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   27.    In statewide elections involving federal candidates, “a State’s

regulatory authority springs directly from the United States Constitution.”

Project Vote v. Kelly, 805 F. Supp. 2d 152, 174 (W.D. Pa. 2011) (citing Cook v.

Gralike, 531 U.S. 510, 522-23 (2001); U.S. Term Limits, Inc. v. Thornton, 514

U.S. 779, 805 (1995)).

   28.    The Elections Clause of the United States Constitution states that

“[t]he Times, Places, and Manner of holding Elections for Senators and

Representatives, shall be prescribed in each State by the Legislature thereof.”

U.S. Const. Art. I, § 4, cl. 1 (emphasis added). Likewise, the Electors Clause of

the United States Constitution states that “[e]ach State shall appoint, in such

Manner as the Legislature thereof may direct, a Number of Electors” for

President. U.S. Const. Art. II, § 1, cl. 2 (emphasis added).

   29.    The Legislature is “the representative body which ma[kes] the laws of

the people.” Smiley 285 U.S. 365. Regulations of congressional and presidential

elections, thus, “must be in accordance with the method which the state has

prescribed for legislative enactments.” Id. at 367; see also Ariz. State

Legislature v. Ariz. Indep. Redistricting Comm’n, 576 U.S. 787, 135 S. Ct.

2652, 2668 (U.S. 2015).

   30.    In Pennsylvania, the “legislature” is the General Assembly. Pa. Const.

Art. II, § 1. See also Winston v. Moore, 91 A. 520, 522 (Pa. 1914) (“The power



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to regulate elections is legislative, and has always been exercised by the

lawmaking branch of the government.”); Patterson v. Barlow, 60 Pa. 54, 75

(1869) (“It is admitted that the Constitution cannot execute itself, and that the

power to regulate elections is a legislative one, which has always been

exercised by the General Assembly since the foundation of the government.”).

   31.    Because the United States Constitution reserves for state legislatures

alone the power to set the time, place, and manner of holding elections for

Congress and the President, state executive officers, including but not limited to

Secretary Boockvar, have no authority to unilaterally exercise that power, much

less flout existing legislation.

   32.    Nor can the authority to ignore existing legislation be delegated to an

executive officer. While the Elections Clause “was not adopted to diminish a

State’s authority to determine its own lawmaking processes,” Ariz. State

Legislature, 135 S. Ct. at 2677, it does hold states accountable to their chosen

processes when it comes to regulating federal elections. Id. at 2668. A

significant departure from the legislative scheme for appointing Presidential

electors presents a federal constitutional question.” Bush, 531 U.S. at 113

(Rehnquist, J., concurring); Smiley, 285 U.S. at 365.




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   II. Actual Observation by Watchers and Representatives Ensures Free
   and Fair Public Elections.

   33.    Elections in Pennsylvania are governed and regulated by the

Pennsylvania Election Code. “Although the [Commonwealth] is ultimately

responsible for the conduct and organization of elections, the statutory scheme

[promulgated by the Election Code] delegates aspects of that responsibility to

the political parties. This delegation is a legislative recognition of ‘the critical

role played by political parties in the process of selecting and electing

candidates for state and national office.’” Tiryak v. Jordan, 472 F. Supp. 822,

823-24 (E.D. Pa. 1979) (quoting Marchioro v. Chaney, 442 U.S. 191, 195

(1979)). “Pennsylvania’s election laws apply equally to federal and state

elections.” Project Vote, 805 F. Supp. 2d at 174 (citing Kuznik v. Westmoreland

County Board of Elections, 902 A.2d 476, 490- 93 (Pa. 2006)).

   34.    The United States Supreme Court has noted: “[S]unlight,” as has so

often been observed, “is the most powerful of all disinfectants.” N.Y. Times Co.

v. Sullivan, 376 U.S. 254, 305 (1964).

   35.    The Pennsylvania General Assembly understood that sentiment long

ago and intertwined the concept of watching with the act of voting, enshrining

transparency, sunlight and accountability into the process in which

Pennsylvanians choose elected officials. After all, reasonable people cannot

dispute that “openness of the voting process helps prevent election fraud, voter

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intimidation, and various other kinds of electoral evils.” PG Publishing Co. v.

Aichele, 705 F.3d 91, 111 (3d Cir. 2013).

   36.    As long as Pennsylvania has had an Election Code, it has had

watchers. In 1937, the Pennsylvania General Assembly included the concept of

“watchers” in the then-newly enacted Pennsylvania Election Code, a statutory

scheme addressing the administration of elections in the Commonwealth. See

25 P.S. §§ 2600, et. seq.

   37.    As it exists today, Election Code Section 417, codified at 25 P.S. §

2687, creates the position of watcher and entrusts to each candidate for

nomination or election at any election, and each political party and each

political body which has nominated candidates for such elections, the power to

appoint watchers to serve in each election district in the Commonwealth. See 25

P.S. § 2687(a).

   38.    Under the Election Code, “poll watcher[s] perform[] a dual function

on Election Day. On the one hand, because [watchers] are designated by

[candidates, political parties, and/or political bodies], [their] job is to guard the

interests of [their] candidates [or political parties or bodies]. On the other hand,

because the exercise of [their] authority promotes a free and fair election, poll

watcher[s] serve to guard the integrity of the vote. Protecting the purity of the

electoral process is a state responsibility and [watchers’] statutory role in



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providing that protection involves [them] in a public activity, regardless of

[their] private political motives.” Tiryak, 472 F. Supp. at 824.

   39.    Under Election Code Section 417(b), poll watchers may observe the

election process from the time the first polling place official appears in the

morning to open the polling place until the time the polls are closed and the

election returns are counted and posted at the polling place entrance. 25 P.S. §

2687(b). However, until the polls close, only one pole watcher representing

each political party and its candidates at a general, municipal, or special

election can be present in the polling place outside the enclosed space from the

time that the election officers meet to open the polls and until the counting of

the votes is complete. Id. See also Election Code Section 1220, 25 P.S. §

3060(a) & (d). Once the polls close and while the ballots are being counted,

then all the watchers for candidates and political parties or bodies are permitted

to be in the polling place outside the enclosed space. 25 P.S. § 2687(b).

   40.    In addition to the activities authorized by Election Code Section

417(b), poll watchers are among those who are authorized under Election Code

Section 1210(d), 25 P.S. § 3050(d), to challenge any person who presents

himself or herself to vote at a polling place on Election Day concerning the

voter’s identity, continued residence in the election district, or registration

status. See 25 P.S. § 3050(d) (“any person, although personally registered as an



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elector, may be challenged by any qualified elector, election officer, overseer,

or watcher at any primary or election as to his identity, as to his continued

residence in the election district or as to any alleged violation of the provisions

of section 1210 of this act, …”) (emphasis added).

   41.    Also, poll watchers are authorized under Election Code Section

1308(b), 25 P.S. § 3146.8(b), to be present when the envelopes containing

absentee and mail-in ballots are opened, counted, and recorded. 25 P.S. §

3146.8(b).

   42.    Moreover, watchers’ functions go beyond the activities authorized

under Election Code Sections 417(b) and 1210(d) on Election Day.

   43.    For example, under Election Code Section 310, 25 P.S. § 2650, poll

watchers appointed by parties, political bodies, or bodies of citizens may appear

“at any public session or sessions of the county board of elections,” and “at any

computation and canvassing of returns of any primary or election and recount

of ballots or recanvass of voting machines,” in which case such poll watchers

may exercise the same rights as watchers at polling places and may raise

objections to any ballots or machines for subsequent resolution by the county

board of elections and appeal to the courts. 25 P.S. § 2650(a) & (c).

   44.    In addition to poll watchers, the Election Code permits

“representatives” of candidates and political parties to be involved in the pre-



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canvassing and canvassing of absentee and mail-in ballots. See 25 P.S. §

3146.8(g)(1.1) & (2).

   45.     The Election Code also authorizes “representatives” of candidates and

political parties to be present when provisional ballots are examined to

determine if the individuals voting such ballots are entitled to vote at the

election districts in the election. See 25 P.S. § 3050(a.4)(4).

   46.     Election Code Section 417(b) provides that to be a poll watcher, a

person must be “a qualified registered elector of the county in which the

election district for which the watcher [is] appointed is located.” 25 P.S. §

2687(b).

   47.     Without poll watchers and representatives, the integrity of the vote in

elections is threatened and the constitutional right to free and fair public

elections under the United States Constitution is denied.

   48.     Poll watchers and representatives serve as an important check to

ensure transparency and guard against inconsistencies and other wrongdoing by

election officials.

   49.     The need for poll watchers and representatives is demonstrated by the

case of United States v. DeMuro, Criminal No. 20-112 (E.D. Pa. unsealed May

21, 2020). In that case, a former Judge of Elections in South Philadelphia pled

guilty to adding fraudulent votes to the voting machines during Election Day –



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also known as “ringing up” votes – and then falsely certifying that the voting

machine results were accurate for specific federal, state, and local Democratic

candidates in the 2014, 2015, and 2016 primary elections. The scheme involved

a political consultant who purportedly solicited monetary payments from the

candidates as “consulting fees,” and then used portions of those funds to pay

election board officials, including DeMuro, in return for ringing up votes.

DeMuro was able to commit the fraud because there were no poll watchers at

his precinct. See United States v. DeMuro, Criminal No. 20-112, Information

(Doc. #1) (E.D. Pa Mar. 03, 2020); M. Cavacini, “U.S. Attorney William M.

McSwain Announces Charges and Guilty Plea of Former Philadelphia Judge of

Elections Who Committed Election Fraud,” U.S. Attys. Office – Pa., Eastern

(May 21, 2020) (available at https://www.justice.gov/usao-edpa/pr/us-attorney-

william-m-mcswain-announcescharges- and-guilty-plea-former-philadelphia.

   50.   The importance of poll watchers and representatives serving as an

important check in elections is recognized internationally. The International

Institute for Democracy and Electoral Assistance issued a publication in 2002

called the International Electoral Standards: Guidelines for Review the Legal

Framework of Elections. The purpose of the International IDEA standards is to

be “used as benchmarks to assess whether or not an election is free and fair.”

International Electoral Standards at v; see also id. at 6 (“These international



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standards are relevant to each component, and necessary for the legal

framework to be able to ensure democratic elections. This publication is

intended to identify electoral standards which contribute to uniformity,

reliability, consistency, accuracy and overall professionalism in elections.”).

The sources for the Standards include numerous international Declarations,

Charters, and Conventions, including many to which the U.S. is a signatory. See

Id. at 7.

   51.      In contrast to the 2002 International Electoral Standards, Id, the

Pennsylvania Supreme court has struck out in a unique direction among

democracies and declared that meaningful observers are not part of verification

and votes may be counted without any review by political campaigns and

parties. In Re: Canvassing Operation Appeal of: City of Philadelphia Board of

Elections, PA Supreme Court, No. 30 EAP 2020 (November 17, 2020).

   52.      As it relates to ballot counting and tabulation, the Standards set out as

a general principle:

            A fair, honest and transparent vote count is a cornerstone of
            democratic elections. This requires that votes be counted,
            tabulated and consolidated in the presence of the representatives
            of parties and candidates and election observers, and that the
            entire process by which a winner is determined is fully and
            completely open to public scrutiny.

Standards, at 77.




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      53.   “Regardless of whether ballots are counted at the polling station or at

a central counting location or at both places, the representatives of parties and

candidates and election observers should be permitted to remain present on this

occasion.” Id. at 78.

      54.   “The legal framework for elections should clearly specify that the

representatives of parties and candidates and election observers be given, as far

as practicable, certified copies of tabulation and tally sheets.” Id. at 78. “As a

necessary safeguard of the integrity and transparency of the election, the legal

framework must contain a provision for representatives nominated by parties

and candidates contesting the election to observe all voting processes.” Id. at

83.

      55.   “[T]he representatives of parties and candidates should have the right

to immediately query decisions made by polling officials or the implementation

of voting procedures . . . .” Id. at 84. Per the Standards, representatives of

parties and candidates should be permitted “[t]o observe all activity – with the

exception of the marking of ballots by voters – within the polling station, from

the check counting of ballots and sealing of ballot boxes prior to the

commencement of voting to the final packaging of material after close of

voting; [t]o challenge the right of any person to vote; [and t]o query any

decisions made by polling officials with the polling station[,] committee



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president and election management officials.” Id. at 85. “The legal framework

must also be clear and precise concerning what a domestic observer may not do,

for instance, interfere with voting, take a direct part in the voting or counting

processes, or attempt to determine how a voter will vote or has voted. It should

strike a balance between the rights of observers and the orderly administration

of the election processes. But in no case should it hinder legitimate observation,

‘muzzle’ observers, or prevent them from reporting or releasing information

that has been obtained through their observations.” Id. at 90.

           III. The Perils of an Unmonitored Mail-In Voting System.

   56.    Failing to uphold and ensure the adherence to even basic transparency

measures or safeguards against the casting of illegal or unreliable ballots creates

an obvious opportunity for ineligible voters to cast ballots, results in fraud, and

undermines the public’s confidence in the integrity of elections — all of which

violate the fundamental right to vote, the guarantee of equal protection, and the

right to participate in free, fair, and transparent elections as guaranteed by the

United States Constitution.

   57.    If a state fails to follow even basic integrity and transparency

measures — especially its own — it violates the right to free, fair, and

transparent public elections because its elections are no longer meaningfully

public and the State has functionally denied its voters a fair election.



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   58.      “[P]ublic confidence in the integrity of the electoral process has

independent significance, because it encourages citizen participation in the

democratic process.” Crawford, 553 U.S. at 195-96 (plurality op. of Stevens,

J.). As the Commission on Federal Election Reform – a bipartisan commission

chaired by former President Jimmy Carter and former Secretary of State James

A. Baker III, and cited extensively by the United States Supreme Court –

observed, “the ‘electoral system cannot inspire public confidence if no

safeguards exist to deter or detect fraud or to confirm the identity of voters.’”

Building Confidence in U.S. Election, Report of the Commission on Federal

Election Reform, p. 46 (Sept. 2005) (available at https://bit.ly/3dXH7rU, and

referred to and incorporated herein by reference) (hereinafter, the “Carter-Baker

Report”).

   59.      According to the Carter-Baker Report, mail-in voting is “the largest

source of potential voter fraud.” Carter-Baker Report, p. 46.

   60.      Many well-regarded commissions and groups of diverse political

affiliation agree that “when election fraud occurs, it usually arises from

absentee ballots.” Michael T. Morley, Election Emergency Redlines, p. 2 (Mar.

31, 2020) (available at https://ssrn.com/abstract=3564829 or

http://dx.doi.org/10.2139/ssrn.3564829, and referred to and incorporated herein

by reference) (hereinafter, “Morley, Redlines”). Such fraud is easier to commit



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and harder to detect. As one federal court put it, “absentee voting is to voting in

person as a take-home exam is to a proctored one.” Griffin v. Roupas, 385 F.3d

1128, 1131 (7th Cir. 2004). See also id. at 1130-31 (voting fraud is a “serious

problem” and is “facilitated by absentee voting.”).

   61.    Courts have repeatedly found that mail-in ballots are particularly

susceptible to fraud. As Justice Stevens has noted, “flagrant examples of [voter]

fraud ... have been documented throughout this Nation’s history by respected

historians and journalists,” and “the risk of voter fraud” is “real” and “could

affect the outcome of a close election.” Crawford, 553 U.S. at 195-96 (plurality

op. of Stevens, J.) (collecting examples). Similarly, Justice Souter observed that

mail-in voting is “less reliable” than in-person voting. Crawford, 553 U.S. at

212, n.4 (Souter, J., dissenting) (“‘[E]lection officials routinely reject absentee

ballots on suspicion of forgery.’”); id. at 225 (“[A]bsentee-ballot fraud . . . is a

documented problem in Indiana.”). See also Veasey v. Abbott, 830 F.3d 216,

239, 256 (5th Cir. 2016) (en banc) (“[M]ail-in ballot fraud is a significant

threat” — so much so that “the potential and reality of fraud is much greater in

the mail-in ballot context than with in-person voting.”). See also id. at 263

(“[M]ail-in voting . . . is far more vulnerable to fraud.”); id. (recognizing “the

far more prevalent issue of fraudulent absentee ballots”).




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   62.    Pennsylvania is not immune to mail-in ballot fraud. For example, in

1999, former Representative Austin J. Murphy was indicted by a Fayette

County grand jury and then convicted of absentee ballot fraud for forging

absentee ballots for residents of a nursing home and adding his wife as a write-

in candidate for township election judge. See B. Heltzel, “Six of seven charges

against Austin Murphy dismissed,” Pittsburgh Post-Gazette (June 22, 1999)

(available at http://old.post-gazette.com/regionstate/19990622murphy6.asp, and

referred to and incorporated herein by reference). Similarly, in 2014, Richard

Allen Toney, the former police chief of Harmar Township in Allegheny County

pleaded guilty to illegally soliciting absentee ballots to benefit his wife and her

running mate in the 2009 Democratic primary for town council. See T. Ove,

“Ex-Harmar police chief pleads guilty to ballot tampering,” Pittsburgh Post-

Gazette (Sept. 26, 2014) (available at https://www.post-

gazette.com/local/north/2014/09/26/Ex-Harmarpolice- chief-pleads-guilty-to-

ballot-tampering-Toney/stories/201409260172, and referred to and incorporated

herein by reference). Further, in 2015, Eugene Gallagher pled guilty to

unlawfully persuading residents and non-residents of Taylor in Lackawanna

County to register for absentee ballots and cast them for him during his

councilman candidacy in the November 2013 election. See J. Kohut, “Gallagher

resigns from Taylor council, pleads guilty to three charges,” The Times-Tribune



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(Apr. 3, 2015) (available at https://www.thetimes-

tribune.com/news/gallagherresigns- from-taylor-council-pleads-guilty-to-three-

charges/article_e3d45edb-fe99- 525c-b3f9-a0fc2d86c92f.html, and referred to

and incorporated herein by reference). See also Commonwealth v. Bailey, 775

A.2d 881, 886 (Pa. Commw. Ct. 2001) (upholding defendant’s conviction for

absentee ballot violations, holding that a county district attorney has jurisdiction

to prosecute such claims even in the absence of an investigation and referral by

the Bucks County elections board); In re Center Township Democratic Party

Supervisor Primary Election, 4 Pa . D. & C.4th 555, 557-563 (Pa. Ct. Com. Pl.

Beaver 1989) (court ordered a run-off election after evidence proved that fifteen

absentee ballots were applied for and cast by non- existent individuals whose

applications and ballots were handled by a political ally of the purported

winner).

   63.     As part of the November 3, 2020 General Election, at least two

Counties had suspected instances of mail-in ballot fraud. Fayette County

experienced two different issues with their mail-in ballots leading up to Election

Day. First, an issue caused by Pennsylvania’s SURE software system as to the

marking of online applications submitted prior to the June primary election with

the “permanent mail-in” status caused some voters to receive duplicate ballots

for the general election. See https://www.wpxi.com/news/top-stories/election-



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officialsworking- correct-mail-in-ballot-problems-fayette

county/NH5DSEM7EVE7LGZLMAN4CS52YE/. Prior to November 3, 2020,

Fayette County uncovered an incident involving two voters who received mail-

in ballots that were already filled out and two ballots that were found at the

election bureau already opened with the secrecy envelope and the ballot missing

out of those envelopes. Ballots already filled out arrived at homes 40 miles

apart. See https://www.wtae.com/article/fayette-co-prosecutors-investigating-

reports-ofvoters- receiving-mail-in-ballots-already-filled-out/34527256. In late

September 2020, officials in Luzerne County discovered that a temporary

seasonal elections worker had discarded into a trash bin nine (9) military ballots

received in unmarked envelopes, seven (7) of which were all cast for President

Trump. See https://www.wgal.com/article/federal-authorities-investigate-

discarded-ballots-inluzerne- county-pennsylvania/34162209#.

   64.    This risk of abuse by absentee or mail-in voting is magnified by the

fact that “many states’ voter registration databases are outdated or inaccurate.”

Morley, Redlines, p. 2. A 2012 study from the Pew Center on the States –

which the U.S. Supreme Court cited in a recent case - found that

“[a]pproximately 24 million – one of every eight – voter registrations in the

United States are no longer valid or are significantly inaccurate”; “[m]ore than

1.8 million deceased individuals are listed as voters”; and “[a]pproximately



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2.75 million people have registrations in more than one state.” See Pew Center

on the States, Election Initiatives Issue Brief, “Inaccurate, Costly, and

Inefficient: Evidence That America’s Voter Registration System Needs an

Upgrade,” (Feb. 2012) (available at

https://www.issuelab.org/resources/13005/13005.pdf, and referred to and

incorporated herein by reference) (cited in Husted v. A. Philip Randolph Inst.,

138 S. Ct. 1833, 1838 (U.S. 2018)).

   65.   Crucially as it pertains to Pennsylvania’s registered voters, as recently

as December 2019, the Auditor General of Pennsylvania, Eugene DePasquale,

determined through an audit of Pennsylvania’s Statewide Uniform Registry of

Electors (“SURE”), administered by the Department of State, that there are

more than 50,000 cases of potentially inaccurate voter records. The

Performance Audit Report noted that the audit “found too many instances of

potentially bad data and sloppy recordkeeping.” See

https://www.paauditor.gov/press-releases/auditorgeneral- depasquale-issues-

audit-of-voter-registration-system-calls-for-changes-atpennsylvania-

department-of-state; https://www.paauditor.gov/Media/Default/

Reports/Department%20of%20State_SURE%20Audit%20Report%2012-19-

19.pdf. The Department of State was provided 50 recommendations to

strengthen their policies and management controls, one of which was to work



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with counties to resolve records management issues such a duplicative voter

records. See id. Mr. DePasquale criticized the Pennsylvania Department of

State for its “lack of cooperation and a failure to provide the necessary

information” during the audit, including the “denial of access to critical

documents and excessive redaction of documentation.” Id. As a result, the

Auditor General was “unable to establish with any degrees of reasonable

assurance that the SURE system is secure and that Pennsylvania voter

registration records are complete, accurate and in compliance with applicable

laws, regulations, and related guidelines.” Id.

   66.    Because of its inherent risk, absentee and mail-in voting is an election

process that requires adequate procedural safeguards to deter fraud and ensure

transparency.

   67.    One procedural safeguard that any absentee or mail-in ballot voting

system must have is the ability of candidates, political parties, and the public at

large to engage in meaningful, effective, and actual observation of the

inspection, opening, counting, and recording of absentee and mail-in ballots in

order to ensure that the election officers are uniformly applying the same rules

and procedures to all absentee and mail-in voters and that only legitimately cast

votes are counted and recorded.

            68.   IV. Pennsylvania Enacts All-Voter Mail-in Voting.



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      69.   The Pennsylvania General Assembly may enact laws governing the

conduct of elections. Winston, 91 A. at 522. However, no legislative enactment

may contravene the United States Constitution. U.S. CONST. art. VI; Shankey

v. Staisey, 257 A. 2d 897, 898 (Pa.), cert. denied 396 U.S. 1038 (1970).

      70.   “Prior to the year 1957, the Pennsylvania Constitution permitted

absentee voting only by individuals engaged in actual military service (Art. 8, §

6 of the Pennsylvania Constitution (1874)), and by bedridden or hospitalized

veterans (Art. 8, § 18 added to the Pennsylvania Constitution (1949)).”

Absentee Ballots Case, 224 A.2d 197, 199 (Pa. 1966).

      71.   In 1957, the Pennsylvania Constitution was further amended to permit

absentee voting for those “qualified electors who may, on the occurrence of any

election, be absent from the municipality of their residence, because their

duties, occupation or business require them to be elsewhere or who, on the

occurrence of any election, are unable to attend at their proper polling places

because of illness or physical disability or who will not attend a polling place

because of the observance of a religious holiday or who cannot vote because of

election day duties, in the case of a county employee[.]” Pa. Const. art. VII, §

14.

      72.   In 1960, the Election Code was amended to implement the 1957

amendment to the Pennsylvania Constitution. Absentee Ballots Case, 224 A.2d



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at 200. See also The Act of January 8, 1960, entitled “An Act amending the Act

of June 3, 1937,” P.L. 2135, 25 P.S. §§ 3149.1-3149.9 (Supp. 1960).

   73.    “Absentee voting has consistently been regarded by the Pennsylvania

courts as an extraordinary procedure in which the safeguards of the ordinary

election process are absent.” Canvass of Absentee Ballots of April 28, 1964,

Primary Election, 34 Pa. D. & C.2d 419, 420 (Pa. Ct. Com. Pl. Phila. 1964).

   74.    Specifically, “in the casting of an absentee ballot, the ordinary

safeguards of a confrontation of the voter by the election officials and watchers

for the respective parties and candidates at the polling place are absent.”

Canvass of Absentee Ballots of April 28, 1964, Primary Election, 34 Pa. D. &

C.2d at 420.

   75.    Because “it is fraught with evils and frequently results in void votes,”

Pennsylvania’s laws regarding absentee voting are “strictly construed and the

rights created thereunder not extended beyond the plain and obvious intention

of the act.” Canvass of Absentee Ballots of April 28, 1964, Primary Election, 34

Pa. D. & C.2d at 420-21 (citing Decision of County Board of Elections, 29

D.&C.2d 499, 506-7 (Pa. Ct. Com. Pl. 1962)). See also Marks v. Stinson, Civ.

A. No. 93-6157, 1994 U.S. Dist. LEXIS 5273, at *78 (E.D. Pa. Apr. 26, 1994)

on remand, Marks v. Stinson, 19 F.3d 873 (1994).




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   76.    Moreover, consistent with Pennsylvania’s Statutory Construction Act,

the Election Code’s use of the word “shall” to identify the manner and other

“technicalities” that an elector must follow to cast an absentee ballot are

“substantive provisions” that are necessary to “safeguard against fraud” and

preserve the “secrecy and the sanctity of the ballot and must therefore be

observed,” and ballots cast “in contravention of [such] mandatory provision[s]

are void.” In re Canvass of Absentee Ballots of Nov. 4, 2003 Gen. Election, 843

A.2d 1223, 1231-34 (Pa. 2004).

   77.    On October 31, 2019, the Pennsylvania General Assembly enacted

Act 77. See Act 2019-77 (S.B. 421), § 8, approved October 31, 2019, eff.

October 31, 2019.

   78.    Act 77 fundamentally changed the administration of elections in the

Commonwealth of Pennsylvania in that, for the first time in its history,

qualified Pennsylvania electors now have the choice to vote by mail, rather than

in person on Election Day, without providing a reason or excuse. See, e.g., 25

P.S. §§ 3150.11- 3150.17; see also Pa. Dem. Party v. Boockvar, Case No. 133

MM 2020, 2020 Pa. LEXIS 4872, at * 1 (Pa. Sept. 27, 2020). Previously, the

law offered electors who could not vote in person on the designated Election

Day the ability to apply for and receive an absentee ballot, verifying they

qualified based on a limited number of excuses outlined in the statute.



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Pennsylvania held its first election under Act 77’s no excuse mail-in ballot

scheme during the Primary Election held on June 2, 2020. The November 3,

2020 election was the first General Election in Pennsylvania under the state’s

new mail-in voting scheme.

   79.    Mail-in ballots are not automatically sent to electors in Pennsylvania.

The Election Code requires that a person applying for both an absentee and a

mail-in ballot complete a form with various information and sign the

application. See 25 P.S. § 3146.2(a)–(e); (the absentee ballot application “shall

be signed by the applicant”); 25 P.S. § 3150.12(a)–(d); 25 P.S. § 3146.2(d)

(except as not relevant here, “the application [for a mail-in ballot] shall be

signed by the applicant.”). The only exception to the signature requirement is

for military, overseas and disabled voters. Id.

   80.    Other than the signature requirement, there is no other proof of

identification required to be submitted with the ballot applications. See

generally 25 P.S. § 3146.2; 25 P.S. § 3150.12. When those ballots are being

reviewed for approval, the board of elections is required to both (i) compare the

information provided on the application with the information contained on the

voter’s permanent card and (ii) verify the proof of identification. See 25 P.S. §

3146.2b(c); 25 P.S. § 3150.12b(a). The board of elections’ signature




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verification on the application is the only means available to it to verify the

identity of the voter.

   81.    For both absentee and mail-in voting, Act 77 retains the requirement

that “the [non-disabled] elector shall send [his or her absentee or mail-in ballot]

by mail, postage prepaid, except where franked, or delivered it in person to

[the] county board of elections,” in order for the ballot to be properly cast under

Act 77. 25 P.S. §§ 3146.6(a)& 3150.16(a). Accordingly, as it did prior to the

enactment of Act 77, the Election Code bars ballot harvesting of absentee and

mail-in ballots cast by nondisabled voters. See Crossey v. Boockvar, Case No.

108 MM 2020, 2020 Pa. LEXIS 4868, at *4 (Pa., Sept. 17, 2020) (“It has long

been the law of this Commonwealth, per 25 P.S. § 3146.6(a), that third-person

delivery of absentee ballots is not permitted. Act 77 adds a substantially

identical provision for mail-in ballots, which we likewise conclude forbids

third-party delivery of mail-in votes.”) (citations omitted); Absentee Ballots of

Nov. 4, 2003 Gen. Election, 843 A.2d at 1234 (“[W]e hold that Section

3146.6(a)’s ‘in person’ delivery requirement is mandatory, and that the absentee

ballots of non-disabled persons who had their ballots delivered in contravention

of this mandatory provision are void.”); Marks, 1994 U.S. Dist. LEXIS 5273 at

*83.




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   82.    Also, for both absentee and mail-in voting, Act 77 retains the

requirement that an elector must comply with the following additional

mandatory requirements for such ballot to be properly cast:

          [T]he [non-disabled] elector shall, in secret, proceed to mark the
          ballot only in black lead pencil, indelible pencil or blue, black or
          blue-black ink, in fountain pen or ball point pen, and then fold
          the ballot, enclose and securely seal the same in the envelope on
          which is printed, stamped or endorsed “Official Election Ballot.”
          This envelope shall then be placed in the second one, on which
          is printed the form of declaration of the elector, and the address
          of the elector’s county board of election and the local election
          district of the elector. The elector shall then fill out, date and sign
          the declaration printed on such envelope.

   25 P.S. §§ 3146.6(a)& 3150.16(a).

   83.    Moreover, as it did prior to the enactment of Act 77, the Election

Code bars counting absentee or mail-in ballot that either lacks an “Official

Election Ballot,” or contains on that envelope “any text, mark or symbol which

reveals the identity of the elector, the elector’s political affiliation or the

elector’s candidate preference,” or fails to contain a completed declaration

signed and dated by the elector. Election Code Sections 1306.6(a) and

1308(g)(i)-(iv), 25 P.S. §§ 3146.6(a) & 3146.8(g)(4)(i)-(iv).

   84.    These provisions in the Election Code, as amended by Act 77, which

identify exactly what an elector “shall” do to properly vote absentee or mail-in

ballot to ensure the secrecy of such ballots and to prevent fraud. See Absentee

Ballots of Nov. 4, 2003 Gen. Election, 843 A.2d at 1232. See also id. at 1234

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(the Election Code’s provisions of how to cast an absentee ballot are

“substantive matters—how to cast a reliable vote—and not [] a mere procedural

matter” that can be disregarded by a county board of elections); Appeal of

Yerger, 333 A.2d 902, 907 (Pa. 1975) (the validity of a ballot must first be

ascertained before any factual inquiry into the intention of the voter); Appeal of

James, 105 A.2d 64, 66 (Pa. 1954) (“[V]iolations of substantive provisions of

the [Election] Code cannot be overlooked on the pretext of pursuing a liberal

construction.”).

   85.    Importantly, the Pennsylvania Supreme Court recently reaffirmed that

“ballots that voters have filled out incompletely or incorrectly” shall be set

aside and declared void, and election boards are not permitted to afford these

voters a “notice and opportunity to cure” procedure to remedy such defects.

Boockvar, 2020 Pa. LEXIS 4872 at *55. The Boockvar Court further concluded

“that a mail-in ballot that is not enclosed in the statutorily-mandated secrecy

envelope must be disqualified.” Id. at *73 (emphasis added).

   86.    However, in contrast to prior provisions of the Election Code, all

absentee and mail-in ballots are no longer sent to polling places on Election

Day and are no longer inspected by the local election boards or subject to

challenge by watchers at the polling places. Instead, Act 77 mandates that all

properly cast absentee and mail-in ballots are to be “safely ke[pt] . . . in sealed



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or locked containers” at the county boards of elections until they are canvassed

by the county elections boards. Election Code Section 1308(a), 25 P.S. §

3146.8(a).

   87.   Additionally, Act 77 requires that “no earlier than seven o’clock

(0700) A.M. on election day,” the county boards of elections shall meet to

conduct a pre-canvass of all absentee and mail-in ballots received to that

meeting. Election Code Section 1308(g)(1.1), 25 P.S. § 3146.8(g)(1.1). During

the pre-canvass, the election officials shall inspect and open the envelopes of all

absentee and mail-in ballots, remove such ballots from such envelopes, and

count, compute and tally the votes reflected on such ballots. However, as part of

the pre-canvass, the county election boards are prohibited from recording or

publishing the votes reflected on the ballots that are pre-canvassed. Election

Code 102(q.1), 25 P.S. § 2602(q.1).

   88.   Further, contrary to prior provisions of the Election Code, Act 77

mandates that the county boards of elections are to meet no earlier than the

close of polls on Election Day and no later than the third day following the

election to begin canvassing absentee and mail-in ballots. See Election Code

Section 1308(g)(2), 25 P.S. § 3146.8(g)(2). However, unlike a pre-canvass, the

election officials during a canvass are permitted to record and publish the votes

reflected on the ballots. See Election Code 102(a.1), 25 P.S. § 2602(a.1).



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   89.     Act 77 prohibits an elector from casting both an absentee or mail-in

ballot and in-person ballot, whether as a regular or provisional ballot.

Specifically, Act 77 provides: Any elector who receives and votes a mail-in

ballot under section 1301-D shall not be eligible to vote at a polling place on

election day. The district register at each polling place shall clearly identify

electors who have received and voted mail-in ballots as ineligible to vote at the

polling place, and district election officers shall not permit electors who voted a

mail-in ballot to vote at the polling place. 25 P.S. § 3150.16(b)(1). See also

Election Code 1306(b)(1), 25 P.S. § 3146.6(b)(1).

   90.     Further, Act 77 provides that an elector who requests a mail-in or

absentee ballot and who is not shown on the district register as having voted

may vote only by provisional ballot at the polling place on Election Day, unless

the elector remits the unvoted mail-in or absentee ballot and the envelope

containing the declaration of the elector to the judge of elections to be spoiled

and the elector signs a statement under penalties of perjury that he or she has

not voted the absentee or mail-in ballot. 25 P.S. §§ 3150.16(b)(2) & (3);

3146.6(b)(2) & (3).

   91.     These restrictions and requirements under Act 77 were put in place to

reduce the possibility that illegally cast and/or fraudulent ballots would be

counted.



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   92.    On November 3, 2020, Pennsylvania conducted the General Election

for national and statewide candidates, the first general election that followed

enactment of Act 77 and its no-excuse, mail-in voting alternative.

   93.    However, Philadelphians “began in-person mail-in voting at the

[S]atellite [O]ffices on September 29, 2020, sometime between 11:30 a.m. and

12:45 p.m.’” Donald. J. Trump for President, Inc. v. Phila. Cnty. Bd. of

Elections, 983 CD 2020, at 7 n. 3 (Pa. Commw. Ct. Oct. 23, 2020)

(McCullough, J.) (dissenting).

   94.    “In fact, the presidential election is and has been happening since

September 29, 2020. And, all across America, news reports in Philadelphia and

elsewhere have clearly conveyed that multi-millions of electors have already

voted.” Id. at p. 14-15.

   95.    Of the over 6.70 million votes cast for the Presidential election on

November 3, 2020 in Pennsylvania, over 2.5 million votes were cast by mail-in

or absentee ballot.

   96.    Despite the unprecedented number of votes cast by absentee and mail-

in ballots, Defendants failed to take adequate measures to ensure that the

provisions of the Election Code enacted to protect the validity of absentee or

mail-in ballots, including without limitation Act 77, were followed. This is

crucial because the casting of votes in violation of the Election Code’s



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mandatory provisions renders them void. Absentee Ballots of Nov. 4, 2003 Gen.

Election, 843 A.2d at 1234.

    V. The Department of State’s “Guidance” Memos Published Ahead of
                           the General Election.

   A.     August 19, 2020 Guidance On Inner Secrecy Envelopes.

   97.    On the same day its guidance on the use of unmanned drop boxes and

other ballot-collection sites was disseminated, the Pennsylvania Department of

State, with the knowledge, approval, and/or consent of Secretary Boockvar,

published and disseminated to all the County Election Boards another guidance

titled “Pennsylvania Guidance for Missing Official Ballot Envelopes (‘Naked

Ballots’).” A true and correct copy of the August 19, 2020 Naked Ballots

guidance was available at the Pennsylvania Department of State’s web site at

https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/PAD

OS _NakedBallot_Guidance_1.0.pdf.

   98.    In her Naked Ballot Guidance, Secretary Boockvar espoused “the …

position that naked ballots should be counted pursuant to the Pennsylvania

Election Code, furthering the Right to Vote under the Pennsylvania and United

States Constitutions[,]” that “[t]he failure to include the inner envelope

(‘Secrecy Envelope’) does not undermine the integrity of the voting process[,]”

and that “no voter should be disenfranchised for failing to place their ballot in

the official election ballot envelope before returning it to the county board of

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election.” Id. Upon information and belief, Secretary Bookvar – appointed by

Democratic Governor Tom Wolfe – issued this “guidance” in order to

encourage the counting of mail ballots which she knew would favor Biden.

   99.   On September 17, 2020, the Pennsylvania Supreme Court rejected the

Secretary’s position and ruled that “the secrecy provision language in Election

Code Section 3150.16(a) is mandatory and the mail-in elector’s failure to

comply with such requisite by enclosing the ballot in the secrecy envelope

renders the ballot invalid.” Pennsylvania Democratic Party, 2020 Pa. LEXIS

4872 at *72.

   100. Following the Pennsylvania Supreme Court’s September 17, 2020

decision, Secretary Boockvar has removed the August 19, 2020 Naked Ballot

guidance from the Pennsylvania Department of State’s website. However, she

has not issued any guidance advising all 67 County Election Boards that they

must not count non-compliant absentee or mail-in ballots, including, without

limitation, those that lack an inner secrecy envelope, contain on that envelope

any text, mark, or symbol which reveals the elector’s identity, political

affiliation, or candidate preference, do not include on the outside envelope a

completed declaration that is dated and signed by the elector, and/or are

delivered in-person by third-parties for non-disabled voters.




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   B. Guidance On Approving Absentee and Mail-In Ballot Applications
   and Canvassing Absentee and Mail-In Ballots.

   101. On September 11, 2020, the Pennsylvania Department of State, with

the knowledge, approval, and/or consent of Secretary Boockvar, published and

disseminated to all the County Election Boards a guidance titled “GUIDANCE

CONCERNING EXAMINATION OF ABSENTEE AND MAIL-IN BALLOT

RETURN ENVELOPES.” A true and correct copy of the September 11, 2020

Guidance is available at the Pennsylvania Department of State’s web site at

https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/Exa

min ation%20of%20Absentee%20and%20Mail-

In%20Ballot%20Return%20Envelopes.pdf.

   102. Under the “Background” section of the September 11, 2020 Guidance,

Secretary Boockvar states that “[b]efore sending [an absentee or mail-in] ballot

to the applicant, the county board of elections confirms the qualifications of the

applicant by verifying the proof of identification and comparing the information

provided on the application with the information contained in the voter

record[,]” that “[i]f the county is satisfied that the applicant is qualified, the

application must be approved[,]” and that “[t]his approval shall be final and

binding, except that challenges may be made only on the grounds that the

applicant was not a qualified voter . . . .”




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   103. Yet, the Election Code mandates that for non-disabled and non-

military voters, all applications for an absentee or mail-in ballot “shall be signed

by the applicant.” 25 P.S. §§ 3146.2(d)& 3150.12(c). There is no signature

requirement.

   104. Moreover, because of the importance of the applicant’s signature and

the use of the word “shall,” Pennsylvania courts have consistently upheld

challenges to absentee ballots that have been cast by voters who did not sign

their absentee ballot applications. See, e.g., Opening of Ballot Box of the First

Precinct of Bentleyville, 598 A.2d 1341, 1343 (Pa. Commw. Ct. 1991).

   105. Except for first-time voters, the only basis under the Election Code for

the identification of any voter, whether voting in-person or by absentee or mail

ballot, is by confirmation of the presence of the voter’s signature.

   106. Before one can cast a regular ballot at a polling place on Election Day,

that voter is subject to the following signature comparison and challenge

process:

          (1) All electors, including any elector that shows proof of
      identification pursuant to subsection (a), shall subsequently sign a
      voter’s certificate in blue, black or blue-black ink with a fountain
      pen or ball point pen, and, unless he is a State or Federal employee
      [sic] who has registered under any registration act without declaring
      his residence by street and number, he shall insert his address
      therein, and hand the same to the election officer in charge of the
      district register.
          (2) Such election officer shall thereupon announce the
      elector’s name so that it may be heard by all members of the election

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    board and by all watchers present in the polling place and shall
    compare the elector’s signature on his voter’s certificate with his
    signature in the district register. If, upon such comparison, the
    signature upon the voter’s certificate appears to be genuine, the
    elector who has signed the certificate shall, if otherwise qualified,
    be permitted to vote: Provided, That if the signature on the voter’s
    certificate, as compared with the signature as recorded in the district
    register, shall not be deemed authentic by any of the election
    officers, such elector shall not be denied the right to vote for that
    reason, but shall be considered challenged as to identity and required
    to make the affidavit and produce the evidence as provided in
    subsection (d) of this section.
    25 P.S. § 3050(a.3)(1) – (2)(2020) (emphasis added).

 107. Similarly, under Election Code Section 1308(g)(3)-(7),

       “[w]hen the county board meets to pre-canvass or canvass
       absentee ballots and mail-in ballots . . ., the board shall
       examine the declaration on the envelope of each ballot not
       set aside under subsection (d) and shall compare the
       information thereon with that contained in the ‘Registered
       Absentee and Mail-in Voters File,’ the absentee voters’ list
       and/or the ‘Military Veterans and Emergency Civilians
       Absentee Voters File,’ whichever is applicable. If the
       county board has verified the proof of identification as
       required under this act and is satisfied that the declaration
       is sufficient and the information contained in the
       ‘Registered Absentee and Mail-in Voters File,’ the
       absentee voters’ list and/or the ‘Military Veterans and
       Emergency Civilians Absentee Voters File’ verifies his
       right to vote, the county board shall provide a list of the
       names of electors whose absentee ballots or mail-in ballots
       are to be precanvassed [sic]or canvassed.” 25 P.S. §
       3146.8(g)(3). Further, only those ballots “that have been
       verified under paragraph (3) shall be counted . . . .”
 25 P.S. § 3146.8(g)(4).




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   108. If a ballot is not counted because of a lack of a signature, it is

considered “challenged” and subject to the notice and hearing provisions under

Section 1308(g)(5)-(7). 25 P.S. § 3146.8(g)(5)-(7).

   109. The Pennsylvania Election Code authorizes the County Election

Boards to set aside and challenge returned absentee or mail-in ballots that do

not contain the signatures of voters and for which the County Election Boards

did not verify the signature of the electors before the mail-in ballot was

separated from the outer envelope.

   110. Democratic controlled County Elections Board’s failure and refusal to

set aside and challenge returned absentee or mail-in ballots that do not contain

the signatures of voters in the November 3, 2020 General Election has resulted

in the arbitrary, disparate, and unequal treatment between those who vote in-

person at the polling place versus those who vote by absentee or mail-in ballot –

all designed to favor Biden over Trump.

   111. In addition, the disparate treatment between mail-in and in person

voters as to the verification of the voter’s identity through signature verification

has created an environment in Pennsylvania that encourages ballot fraud or

tampering and prevents the Commonwealth and the County Election Boards

from ensuring that the results of the November 3, 2020 General Election are

free, fair, and transparent.



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   112. As a result of the manner in which the County Election Boards were

directed to conduct the election including the canvassing of mail-in ballots, the

validity of Pennsylvanians’ votes who favor Trump have been

unconstitutionally diluted through Defendants’ arbitrary, disparate, and/or

uneven approval of all absentee and mail-in ballots without performing the

requisite verification of the voter’s signature, resulting in the treatment of by-

mail and in-person voters across the state in an unequal fashion in violation of

state and federal constitutional standards in over to favor Biden.

   113. The Department of State issued an additional deficient guidance

related to the issue of signature verification on September 28, 2020 related to

the issue of signature verification titled “GUIDANCE CONCERNING

CIVILIAN ABSENTEE AND MAIL-IN BALLOT PROCEDURES.” (App.

Ex. 25.) This most recent guidance provides additional information about the

acceptance and scrutiny of mail-in and absentee ballots for the General Election

and not only fails to remedy but also doubles down on the illegal September 11

guidance forbidding signature verification as a reason to set aside both mail-in

ballots and ballot applications. In the September 28 guidance memo, the

Secretary proclaims that “[t]he Election Code does not permit county election

officials to reject applications or voted ballots based solely on signature

analysis.” (Id., at p. 9.) She then goes even further and pronounces that “[n]o



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challenges may be made to mail-in and absentee ballots at any time based on

signature analysis.” (Id.)

   114. Secretary Boockvar continued to issue guidance to the counties in

direct contradiction of the Election Code up until the eve of the election. On

November 1, 2020, Secretary Boockvar, with no authority to do so, extended

the Election Code’s mandatory deadline for voters to resolve proof of

identification issues with their mail-in and absentee ballots.

   VI. Defendants’ Inconsistent and Uneven Administration of the 2020
   General Election Violated the Election Code and Infringed Plaintiffs’
   Constitutional Rights to Free, Fair and Transparent Public Elections.

   115. As of the filing of this complaint, 6,743,874 million votes were cast

for President in Pennsylvania, with approximately 2,635,090 ballots returned

and cast by absentee or mail-in ballots (approximately 3.1 million absentee and

mail-in ballots were approved and sent to electors for the General Election).

References contained herein to the November 3, 2020 election results in

Pennsylvania are derived from https://www.electionreturns.pa.gov/.

   116. In the named County Elections Boards, the following are the number

of canvassed and tabulated absentee and mail-in ballots:

   a.     Allegheny: 335,573

   b.     Centre: 32,514

   c.     Chester: 148,465



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   d.     Delaware: 127,751

   e.     Montgomery: 238,122

   f.     Northampton: 71,893

   g.     Philadelphia: 345,197

   117. Despite the fact that well over a third of the votes were cast by mail,

Secretary Boockvar and the Pennsylvania Department of State did not

undertake any meaningful effort to prevent casting illegal or unreliable absentee

or mail-in ballots and/or to ensure the application of uniform standards across

the County Election Boards to prevent the casting of such illegal or unreliable

ballots. Rather, Secretary Boockvar has exercised every opportunity to do quite

the opposite, thereby sacrificing the right to vote by those who legally cast their

ballots (whether in-person or through properly cast absentee or mail-ballots)

through the unlawful dilution or debasement of the weight of their vote in order

to favor Biden over Trump.

   A.     The Prevalence of Unsolicited Mail-In Votes

   118. Throughout the Commonwealth, including in the named County

Election Boards, numerous voters reported receiving mail-in ballots, even

though they did not apply for them.




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   119. Worse, numerous voters reported having received multiple mail-in

ballots, in some documented cases as many as four or five ballots, even though

they had not themselves submitted applications for mail-in ballots.

   120. Moreover, at the polling locations on Election Day, voters were

informed that they must vote provisionally because they had applied for mail-in

votes, even though those voters report that they neither applied for nor received

mail-in ballots. Poll watchers throughout the state who were permitted to

observe reported similar incidents.

   121. Voters reported being denied the right to vote in person because they

had been told they had already voted by mail-in or absentee ballots, even

though they appeared at their polling place with their un-voted mail-in or

absentee ballots in hand. In many cases, those voters were required to vote

provisionally in-person at the polls.

   122. The Trump Campaign also have reports of voters who were visited at

home in the weeks before the election by individuals soliciting their

participation in mail-in voting. Those voters report that even though they never

applied for mail-in ballots, they did receive mail in ballots, and when they

attempted to vote in person were told that they had voted by mail. In at least

two documented cases, even though poll workers told the voters that they were




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recorded as having already voted by mail, they were allowed to vote in person

by live ballot on the voting machines.

   123. Other voters reported having received unsolicited and un-applied for

mail-in ballots, but when they went to their in-person polling place, the poll

books reflected that no mail-in ballot had been sent.

   124. A voter (witness), who was required to vote provisionally because the

voter was identified as having requested a mail-in ballot even though the voter

had not done so, contacted the Allegheny County elections office to complain

about having to submit a provisional ballot. The voter was told that a larger

number of Republican voters experienced the same issue.

   B. The Misadministration of the Election by the County Election Boards
   and Poll Workers.

   125. In Montgomery County, a poll watcher observed a Judge of Elections

pull aside voters who were not listed in the poll books as registered to vote. The

poll watcher reports hearing the Judge of Elections tell those voters that they

needed to return later and report their name as another name that was in the poll

book.

   126. Across numerous counties, poll watchers observed poll workers

mishandling spoiled mail-in or absentee ballots brought to the polling place by

voters who intended to vote in-person. Rather than disposing of the spoiled

ballots securely, the spoiled ballots were instead placed in unsecured boxes or

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in stacks of paper despite the protests of voters or poll watchers. For instance in

Centre County, a poll worker observed mail-in ballots being improperly

spoiled. The workers placed the mail-in ballots returned to the polling place by

in-person voters in a bag without writing “void” on them or otherwise

destroying them.

   127. In at least one case, a voter brought the voter’s own secrecy envelope

to the polling place after realizing that the voter had failed to include it when

returning the mail-in ballot. The voter was not permitted to submit a provisional

ballot in accordance with the statute.

   128. In Allegheny County, poll workers were observing voters vote

provisionally in such a way that the poll worker could determine which

candidates the elector voted on their provisional ballot.

   129. In Centre County, a poll worker reported that persons appearing at the

polls and admitting that they were New Jersey voters, rather than Pennsylvania

voters, were nonetheless provided provisional ballots on which to votes.

   130. In Chester County, an observer witnessed a flawed resolution process

for over-voted and under-voted ballots. The observer witnessed one election

worker responsible for resolving over-voted and under-voted ballots by

subjectively determining who the elector intended to choose on the empty

votes. The observer reports that in numerous instances the election worker



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altered the over-voted ballot by changing votes that had been marked for

Donald J. Trump to another candidate.

   131. In Delaware County, an observer at the county office observed issues

related to mail-in voted ballots being scanned through machines four or five

times before finally being counted. When a voting machine warehouse

supervisor arrived to address whether the machine was malfunctioning, the

supervisor instead reported that the bar codes on the ballots must be

“defective.”

   132. In Delaware County, poll watchers observed in at least seven (7)

different polling locations numerous instances of voters who were told they had

registered to vote by mail, but were given regular ballots, rather than

provisional ballots, and were not made to sign in the registration book.

   133. Mail carriers have noted significant anomalies related to the delivery

of mail-in ballots. A mail carrier for the USPS in Erie County has noted that

during the course of the General Election mail-in ballot delivery period there

were multiple instances in which dozens of mail-in ballots were addressed to

single addresses, each ballot being in a different name. Based on the carrier’s

experience delivering mail to those addresses, the carrier is aware that the

people whose names were on the ballots are not names of people who live at




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those addresses. In addition, ballots were mailed to vacant homes, vacation

homes, empty lots, and to addresses that do not exist.

   134. It has been reported by Project Veritas, in a release on November 5,

2020, that carriers were told to collect, separate and deliver all mail-in ballots

directly to the supervisor. In addition, Plaintiffs have information that the

purpose of that process was for the supervisor to hand stamp the mail-in ballots.

   C. Uneven Treatment of Absentee and Mail-Ballots Failed to Include a

   Secrecy Envelope or Otherwise Comply with the Mandates of the

   Election Code.

   135. The statutory provisions in the Election Code and Act 77 involving

absentee and mail-in ballots do not repose in either Secretary Boockvar or the

County Election Boards the free-ranging power to attempt to ascertain voter

intent or rule out fraud when a vote has been cast in violation of its explicit

mandates. While voter intention may be paramount in the realm of the

fundamental right to vote, ascertaining that intent necessarily assumes a

properly cast ballot. Otherwise, a properly cast ballot will be diluted by one that

has been improperly cast.

   136. By enacting the inner secrecy envelope proscription and the other

mandates for casting a “reliable vote” via an absentee or mail-in ballot, the

General Assembly weighed the factors bearing on that question. It did not vest,



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and has never vested, any discretion or rule-making authority in Secretary

Boockvar and/or the County Election Boards to reweigh those factors in

determining whether to count a particular absentee or mail-in ballot.

Pennsylvania Democratic Party, 2020 Pa. LEXIS 4872 at *73.

   137. Pennsylvania prominently included secrecy envelope instructions in

its mail-in ballot and absentee ballot mailings, and in the months and weeks

leading up to the election, repeated those instructions on its website and on its

social media postings. See, e.g., https://www.votespa.com/Voting-in-

PA/Pages/Mail-and- Absentee-Ballot.aspx

   138. Local officials also conducted media campaigns to encourage voters

to remember not to send their ballots in “naked,” i.e. without the secrecy

envelope. The “naked ballot” ad campaign even included local celebrities and

election officials appearing on social media to remind the public about the inner

envelope.

   139. Certain of the Democratic controlled County Election Boards

proceeded to pre-canvass mail-in ballot envelopes prior to Election Day in order

to favor Biden over Trump. For those ballots that lacked an inner secrecy

envelope, the voters were notified prior to Election Day in order to “cure” the

invalidity by voting provisionally on Election Day at their polling location.




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   140. As reflected in a document titled “Cancelled Ballot Notification

Information,” Philadelphia County sent a “notification” to voters whose “ballot

was cancelled” because, among other reasons, the ballot “was returned without

a signature on the declaration envelope” or “was determined to lack a secrecy

envelope.” Philadelphia County allowed those voters to cure this defect by

casting a “provisional ballot on Election Day” or requesting “a replacement

ballot at a satellite election office.” Philadelphia City Comm’rs, Cancelled

Ballot Notification Information, bit.ly/3la08LR (last visited Nov. 7, 2020).

   141. To figure out which voters should be notified, Philadelphia County

had to inspect the mail-in ballots before election day—in plain violation of state

law. See 25 P.S. §3146.8. This required substantial manipulation: Officials in

Philadelphia County were determining whether ballots were missing an inner

secrecy envelope, for example, which cannot be determined without

manipulating the outer envelope—feeling the envelope, holding the envelope

up to the light, weighing the envelope, by evaluating the weight of the envelope

through the sorting and/or scanning equipment, etc. This kind of tampering

squarely undermines the legislature’s “mandate” that mail-in voting cannot

compromise “fraud prevention” or “ballot secrecy.” Pa. Democratic Party,

2020 Pa. LEXIS 4872, at *26.




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   142. Secretary Boockvar encouraged this unlawful behavior to favor Biden

over Trump. In an November 2, 2020 email sent at approximately 8:30 p.m. on

the eve of the November 3, 2020 General Election, her office suggested that

counties “should provide information to party and candidate representatives

during the pre-canvass that identifies the voters whose ballots have been

rejected” so that those voters “may be issued a provisional ballot.”

   143. While Democratic controlled counties like the Defendant County

Boards of Elections permitted voters to cast either replacement absentee and

mail-in ballots before Election Day or provisional ballots on Election Day in

order to cure their defective mail-in ballots, many more Republican controlled

counties did not. Lancaster, York, Westmoreland and Berks Counties, for

example, did not contact voters who submitted defective ballots or give them an

opportunity to cure. They simply followed the law and treated these ballots as

invalid and refused to count them.

   144. Because the counties that followed state law and did not provide a

cure process are heavily Republican (and counties that violated state law and

did provide a cure process are heavily Democratic), Defendants’ conduct

harmed the Trump Campaign, as intended. It awarded Biden unlawful votes.

   D. Uneven Treatment of Watchers and Representatives at the County

   Election Boards’ Canvassing of Ballots.



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   145. In every instance where an absentee or mail-in ballot is opened and

canvassed by a county election board, poll watchers and canvass representatives

are legally required to be present. See Election Code Section 1308(b), 25 P.S. §

3146.8(b) (“Watchers shall be permitted to be present when the envelopes

containing official absentee ballots and mail-in ballots are opened and when

such ballots are counted and recorded.”); see also 25 P.S. § 3146.8(g)(1.1) and

(g)(2). (Emphasis added.)

   146. Poll watchers and canvass representatives serve the important purpose

of assuring voters, candidates, political parties, and political bodies, who may

question the fairness of the election process, that the same is conducted in

compliance with the law, and is done in a correct manner that protects the

integrity and validity of the vote and ensures that all elections are free, open,

fair, and honest.

   147. Defendants refused to allow watchers and representatives to be

present when the required declarations on envelopes containing official

absentee and mail-in ballots were reviewed for sufficiency, when the ballot

envelopes were opened, and when such ballots were counted and recorded.

Instead, watchers were denied access by security personnel and a metal

barricade from the area where the review, opening, and counting were taking

place. Some of the Trump campaign watchers were threatened with arrest if



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they approached the counting process area. Consequently, it was physically

impossible to view the envelopes or ballots.

   148. In Centre County, the central pre-canvassing location was a large

ballroom. The set-up was such that the poll watchers did not have meaningful

access to observe the canvassing and tabulation process of mail-in and absentee

ballots, and in fact, the poll watchers and observers who were present could not

actually observe the ballots to be abl to confirm or object to the validity of the

ballots.

   149. In Philadelphia County, poll watchers and canvass representatives

were denied access altogether.

   150. In Delaware County, observers were denied access to a back room

counting area. After a court-ordered injunction, the poll watchers and canvass

representatives were allowed in the back room counting area on November 5,

2020, but for only five minutes every two hours. During the limited observation

time in the counting area, observers witnessed tens of thousands of paper ballots

but they could only review a handful.

   151. Other Republican controlled Pennsylvania Counties, such as York,

provided watchers with appropriate access to view the ballots as required by

Commonwealth law. However, Defendants in Democratic-controlled counties

intentionally denied the Trump Campaign access to unobstructed observation to



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ensure validity of the ballots, denying Plaintiffs and Pennsylvania residents the

equal protection of the law.

   152. In Philadelphia County, the Board of Elections would not permit any

Trump Campaign watcher to be within 6 feet of “all aspects” of the pre-

canvassing process in direct contravention of Commonwealth Court Judge

Christine Fizzano Cannon’s November 5, 2020 Order “requiring that all

candidates, watchers, or candidate representatives be permitted to be present for

the canvassing process pursuant to 25 P.S. § 2650 and/or 25 P.S. § 3146.8 and

be permitted to observe all aspects of the canvassing process within 6 feet.” See

In Re: Canvassing Observation, 11/05/2020 Order, 1094 C.D. 2020 (Pa.

Commw. Ct. 2020).

   153. The Order required the Philadelphia Board of Elections to comply and

allow the watcher to be within 6 feet by 10:30 a.m., but at 10:35 a.m. the

watchers were denied entry. Instead, the Board sent all the workers on a break

(previously workers received breaks on a rolling basis), while the

Commissioners met offsite. Two hours later the workers returned, and the

watchers were allowed to be within 6 feet, but within 6 feet of the first row of

counters only. Within a short period of time, the workers began working at

other rows that were well-beyond 6-feet, rendering it impossible for watchers to

observe the rows that were more than 25-feet beyond the area where watchers



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were allowed. Moreover, during the entire period, the workers repeatedly

removed ballots, sometimes over 100 feet away, to do something with them,

which the Trump Campaign’s watchers were unable to observe.

   154. Other Republican controlled Counties in the Commonwealth afford

watchers the right to be present – that is, to be able to meaningfully view and

even read – when official absentee and mail-in ballots are reviewed, being

opened, counted, or recorded as required by 25 P.S. § 3146.8(b).

   155. It is estimated that 680,770 ballots were processed by the Allegheny

and Philadelphia County Boards of Elections when no observation was allowed.

   156. Defendants have violated the Equal Protection Clause because as a

result of their conduct to obscure access to the vote-counting process, watchers

in Allegheny, Philadelphia and other Defendant Counties did not have the same

right as watchers in Republican controlled Pennsylvania Counties, such as

York, to be present when envelopes containing official absentee and mail-in

ballots were reviewed, opened, counted, and recorded. Also, this violation of

law and United States Constitution means voters are at an unequal risk of

having their legal votes diluted by ballots that otherwise should have been

disqualified. There is no legitimate state interest justifying this disparity; rather,

it was done to favor Biden over Trump.




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   E. Mail-in Ballots Received After 8 p.m. On Election Day

   157. A shocking number of mail-in ballots have inexplicably appeared in

counties after the November 4 ballot reports. For instance, in Delaware County,

the county’s Wednesday, November 4 report indicated that Delaware County

reported it has received about 113,000 mail-in ballots and counted

approximately 93,000 voted ballots. On the next day, November 5, the

Secretary of the Commonwealth’s 4:30 report reflected that Delaware County

had received about 114,000 ballots. Several hours later, the Delaware County

solicitor reported to an observer that the County had received about 126,000

mail-in ballots and counted about 122,000. As of Sunday, November 8, 2020,

the Department of State’s website reflects that Delaware County had counted

about 127,000 mail-in ballots. Plaintiffs have received no explanation for where

the additional 14,000 voted ballots came from, when they arrived, or why they

are included in the current count.

   158. In Delaware County, an observer in the county office where mail-in

ballots were counted was told by the Delaware County Solicitor that ballots

received on November 4, 2020, were not separated from ballots received on

Election Day, and the County refused to answer any additional questions. The

refusal to segregate ballots violates the order of Supreme Court Justice Alito of

November 6th, 2020 that all ballots…be segregated and kept ‘in a secure, safe



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and sealed container separate from other voted ballots,’ “ See Justice Alito’s

Order, Republican Party of Pennslyvania v Kathy Boockvar, Secretary of

Pennsylvania, et al. 20A66 U.S. (Nov. 6, 2020).

   159. Also in Delaware County, an observer in the county office where

mail-in ballots were counted witnessed delivery on November 5, 2020, of v-

cards or USB drives in a plastic bag with no seal and no accompanying paper

ballots. The vcards or USB drives were taken to the back counting room, with

no observer access. There was no opportunity to observe what happened to the

v-cards or USB drives in the back counting room.

   VII. Need for Emergency Judicial Intervention.

   160. The Equal Protection Clause mandates that the Commonwealth

provide and use in every County the same statewide uniform standards and

regulations when conducting statewide or multi-county elections involving

federal candidates, including without limitation the standards and regulations

providing for casting and counting votes. Pierce, 324 F. Supp. 2d at 698-99. In

other words, the Equal Protection Clause requires every county in the

Commonwealth to enforce and apply the same standards and procedures for an

election. It does not allow a select few counties to decline to enforce or employ

those standards or to develop their own contradicting standards that benefit their

voters, and their political candidates, to the detriment of voters in counties that



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predominately support another candidate. Id. In this case, Defendants’ conduct

was designed to favor Biden over Trump.

   161. For statewide elections involving federal candidates, Defendants’

allowance, by deliberate act or omission, of collecting and counting in-person,

provisional, and absentee and mail-in ballots in a manner and at locations that

are contrary to the Election Code’s mandatory provisions (as set forth above)

constitutes legislative action by the Executive Branch in violation of the

Elections and Electors Clauses of the United States Constitution.

   162. Finally, Defendants’ lack of statewide standards and use of a

patchwork of ad-hoc rules that vary from county to county in a statewide

election involving federal and state-wide candidates violates the Equal

Protection clause of the Fourteenth Amendment, particularly when it was

designed to favor Biden over Trump. Pierce, 324 F. Supp. 2d at 698-99.

   163. Because standards for conducting statewide elections involving

federal and state candidates, including without limitation casting and counting

votes, are to be uniform, Plaintiffs have a vested interest in ensuring that the

electoral process is properly administered in every election district. However,

the administration of the November 3, 2020 General Election across the

counties of the Commonwealth, in particular in the named County Election

Boards, was far from uniform and violated the Election Code and the United



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States Constitution, particularly because it was designed to favor Biden over

Trump.

   164. In light of Defendants’ clear violations of United States Constitution

through their illegal implementation of Pennsylvania’s Election Code, as set

forth above, Plaintiffs seek an order, declaration and/or injunction directing the

Defendants to verify and confirm that all mail-in ballots tabulated in the 2020

election results in the Commonwealth of Pennsylvania were validly cast in

compliance with state law and disallow those ballots which did not comply.

   165. The current voting regime as employed by Defendants has resulted in

the denial of free and fair elections and other fundamental rights during the

2020 Pennsylvania General Election.

                                     COUNT I
                             Fourteenth Amendment
    U.S. Const. Art. I § 4, cl. 1; Art. II, § 1, cl. 2; Amend. XIV, 42 U.S.C. §
                                        1983
      Right to Vote Due Process is Denied When the State Violates the
       Legislative Procedure Enacted to Prevent Disenfranchisement

   166. Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.

   167. Democrats who controlled the Defendant County Election Boards

engaged in a deliberate scheme of intentional and purposeful discrimination to

favor presidential candidate Joseph Biden over Donald J. Trump by excluding

Republican and Trump Campaign observers from the canvassing of the mail

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ballots in order to conceal their decision not to enforce requirements that the

declarations on the outside envelopes are properly filled out, signed, and dated

and had secrecy envelopes as required by 15 PA.S 3146.6(a) and 3150.16(a) in

order to count absentee and mail ballots which should have been disqualified.

   168. Defendant County Election Boards carried out this scheme knowing

that the absentee and mail ballots which should have been disqualified would

overwhelmingly favor Biden because of the registrations of the persons who

voted by mail, as well as because of their knowledge and participation in the

Democrat/Biden election strategy, which favored mail voting, compared to the

Republican/Trump strategy, which favored voting in person at the polls. As a

result, Defendant County Election Boards deliberately favored Biden with

votes that should not have been counted, effectively stuffing the ballot box in

his favor with illegal votes in violation of Reynolds, Bush v. Gore, Snowden v.

Hughes, 321 U.S. 1 (1943), and Marks v. Stinson. Upon information and

belief, a substantial portion of the approximately 1.5 million absentee and mail

votes in Defendant Counties should not have been counted, and the vast

majority favored Biden, thus resulting in returns indicating Biden won

Pennsylvania.

   169. The right of qualified citizens to vote in a state election involving

federal candidates is recognized as a fundamental right under the Fourteenth



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Amendment of the United States Constitution. Harper v. Virginia State Board

of Elections, 383 U.S. 663, 665 (1966). See also Reynolds, 377 U.S. at 554 (The

Fourteenth Amendment protects the “the right of all qualified citizens to vote,

in state as well as in federal elections.”). Indeed, ever since Slaughter-House

Cases, 83 U.S. 36 (1873), the United States Supreme Court has held that the

Privileges or Immunities Clause of the Fourteenth Amendment protects certain

rights of federal citizenship from state interference, including the right of

citizens to directly elect members of Congress. See Twining v. New Jersey, 211

U.S. 78, 97 (1908) (citing Ex parte Yarbrough, 110 U.S. 651, 663-64 (1884)).

See also Oregon v. Mitchell, 400 U.S. 112, 148-49 (1970) (Douglas, J.,

concurring) (collecting cases).

   170. The fundamental right to vote protected by the Fourteenth

Amendment is cherished in our nation because it “is preservative of other basic

civil and political rights.” Reynolds, 377 U.S. at 562.

   171. Voters have a “right to cast a ballot in an election free from the taint

of intimidation and fraud,” Burson v. Freeman, 504 U.S. 191, 211 (1992), and

“[c]onfidence in the integrity of our electoral processes is essential to the

functioning of our participatory democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4

(2006) (per curiam).




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   172. “Obviously included within the right to [vote], secured by the

Constitution, is the right of qualified voters within a state to cast their ballots

and have them counted” if they are validly cast. United States v. Classic, 313

U.S. 299, 315 (1941). “[T]he right to have the vote counted” means counted “at

full value without dilution or discount.” Reynolds, 377 U.S. at 555, n.29

(quoting South v. Peters, 339 U.S. 276, 279 (1950) (Douglas, J., dissenting)).

   173. “Every voter in a federal . . . election, whether he votes for a candidate

with little chance of winning or for one with little chance of losing, has a right

under the Constitution to have his vote fairly counted, without its being

distorted by fraudulently cast votes.” Anderson v. United States, 417 U.S. 211,

227 (1974); see also Baker v. Carr, 369 U.S. 186, 208 (1962).

   174. Invalid or fraudulent votes “debase[]” and “dilute” the weight of each

validly cast vote. See Anderson, 417 U.S. at 227.

   175. The right to an honest [count] is a right possessed by each voting

elector, and to the extent that the importance of his vote is nullified, wholly or

in part, he has been injured in the free exercise of a right or privilege secured to

him by the laws and Constitution of the United States.” Anderson, 417 U.S. at

226 (quoting Prichard v. United States, 181 F.2d 326, 331 (6th Cir.), aff'd due

to absence of quorum, 339 U.S. 974 (1950)).




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   176. Practices that promote casting illegal or unreliable ballots, or that fail

to contain basic minimum guarantees against such conduct, can violate the

Fourteenth Amendment by leading to the dilution of validly cast ballots. See

Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be denied by a

debasement or dilution of the weight of a citizen’s vote just as effectively as by

wholly prohibiting the free exercise of the franchise.”).

   177. The Fourteenth Amendment Due Process Clause protects the right to

vote from conduct by state officials that seriously undermines the fundamental

fairness of the electoral process. Marks v. Stinson, 19 F.3d 873, 889 (3d Cir.

1994); Griffin v. Burns, 570 F.2d 1065, 1077-78 (1st Cir. 1978).

   178. Separate from the Equal Protection Clause, the Fourteenth

Amendment’s due process clause protects the fundamental right to vote against

“the disenfranchisement of a state electorate.” Duncan v. Poythress, 657 F.2d

691, 702 (5th Cir. 1981).

   179. “When an election process ‘reaches the point of patent and

fundamental unfairness,’ there is a due process violation.” Florida State

Conference of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1183-84 (11th Cir.

2008) (quoting Roe v. Alabama, 43 F.3d 574, 580 (11th Cir.1995) (citing Curry

v. Baker, 802 F.2d 1302, 1315 (11th Cir.1986))). See also Griffin, 570 F.2d at

1077 (“If the election process itself reaches the point of patent and fundamental



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unfairness, a violation of the due process clause may be indicated and relief

under § 1983 therefore in order.”); Marks v. Stinson, 19 F.3d 873, 889 (3d Cir.

1994) (enjoining winning state senate candidate from exercising official

authority where absentee ballots were obtained and cast illegally).

   180. Justification for such a ruling is the Supreme Court’s recognition that

the right to vote and to free and fair elections is one that is preservative of other

basic civil and political rights. See Black, 209 F.Supp.2d at 900 (quoting

Reynolds, 377 U.S. at 561-62 (“since the right to exercise the franchise in a free

and unimpaired manner is preservative of other basic civil and political rights,

any alleged infringement of the right of citizens to vote must be carefully and

meticulously scrutinized.”)); see also Yick Wo v. Hopkins, 118 U.S. 356, 370

(1886) (“the political franchise of voting … is regarded as a fundamental

political right, because [sic] preservative of all rights.”).

   181. “[T]he right to vote, the right to have one’s vote counted, and the right

to have ones vote given equal weight are basic and fundamental constitutional

rights incorporated in the due process clause of the Fourteenth Amendment to

the Constitution of the United States.” Black, 209 F. Supp. 2d at 900 (a state

law that allows local election officials to impose different voting schemes upon

some portions of the electorate and not others violates due process).




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   182. “Just as the equal protection clause of the Fourteenth Amendment

prohibits state officials from improperly diluting the right to vote, the due

process clause of the Fourteenth amendment forbids state officials from

unlawfully eliminating that fundamental right.” Duncan, 657 F.2d at 704.

   183. “Having once granted the right to vote on equal terms, [Defendants]

may not, by later arbitrary and disparate treatment, value one person's vote over

that of another.” Bush, 531 U.S. at 104-05.

   184. In statewide and federal elections conducted in the Commonwealth of

Pennsylvania, including without limitation the November 3, 2020 General

Election, all candidates, political parties, and voters, including without

limitation Plaintiffs, have a vested interest in being present and having

meaningful access to observe and monitor the electoral process to ensure that it

is properly administered in every election district and otherwise free, fair, and

transparent.

   185. Moreover, through its provisions involving watchers and

representatives, the Pennsylvania Election Code ensures that all candidates and

political parties, including without limitation Plaintiff, the Trump Campaign,

shall be “present” and have meaningful access to observe and monitor the

electoral process to ensure that it is properly administered in every election

district and otherwise free, fair, and transparent.



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   186. Defendants have a duty to guard against deprivation of the right to

vote through the dilution of validly cast ballots by ballot fraud or election

tampering.

   187. Rather than heeding these mandates and duties, Defendants arbitrarily

and capriciously denied the Trump Campaign meaningful access to observe and

monitor the electoral process by: (a) mandating that representatives at the

precanvass and canvass of all absentee and mail-ballots be either Pennsylvania

barred attorneys or qualified registered electors of the county in which they

sought to observe and monitor; and (b) not allowing watchers and

representatives to visibly see and review all envelopes containing official

absentee and mail-in ballots either at the time or before they were opened

and/or when such ballots were counted and recorded.

   188. Instead, Defendants refused to credential all of the Trump Campaign’s

submitted watchers and representatives and/or kept Trump Campaign’s

watchers and representatives by security and metal barricades from the areas

where the inspection, opening, and counting of absentee and mail-in ballots

were taking place. Consequently, Defendants created a system whereby it was

physically impossible for the candidates and political parties to view the ballots

and verify that illegally cast ballots were not opened and counted.




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   189. Defendants intentionally and/or arbitrarily and capriciously denied the

Trump campaign access to and/or obstructed actual observation and monitoring

of the absentee and mail-in ballots being pre-canvassed and canvassed by

Defendants. The individual Plaintiffs were treated differently than voters in

Defendant Counties, where upon information and belief, voters were permitted

to cure. Because the individual Plaintiffs believe the “right to cure” is illegal

under Pennsylvania law, the appropriate remedy is to exclude the votes of those

persons who were illegally allowed to cure.

   190. Defendants have acted and will continue to act under color of state

law to violate the right to vote and due process as secured by the Fourteenth

Amendment to the United States Constitution.

   191. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

                                    COUNT II
                             Fourteenth Amendment
                  U.S. Const. Amend. XIV, 42 U.S.C. § 1983
    U.S. Const. Art. I § 4, cl. 1; Art. II, § 1, cl. 2; Amend. XIV, 42 U.S.C. §
                                        1983
    Right to Vote Equal Protection is Denied When the State Violates the
     Legislative Procedure Enacted to Protect the Integrity of the Voting
     Process, including Counting Ballots Designed to Favor Biden Over
                                       Trump

   192. Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.



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   193. The Democrats who controlled the Defendant County Election Boards

engaged in a deliberate scheme of intentional and purposeful discrimination to

favor Biden over Trump by excluding Republican and Trump Campaign

observers from canvassing mail-in ballots in order to conceal their decision not

to enforce requirements that the declarations on the outside envelopes are

properly filled out, signed, and dated and had secrecy envelopes as required by

15 PA.S 3146.6(a) and 3150.16(a) in order to count absentee and mail ballots

which should have been disqualified.

   194. Defendant County Election Boards carried out this scheme knowing

that the absentee and mail ballots which should have been disqualified would

overwhelmingly favor Biden because of the registrations of the persons who

voted by mail, as well as their knowledge and participation in the

Democrat/Biden election strategy, which favored mail voting, compared to the

Republican/Trump strategy, which favored voting in person at the polls. As a

result, Defendant County Election Boards deliberately favored Biden with

votes that should not have been counted, effectively stuffing the ballot box in

his favor with illegal votes in violation of Reynolds, Bush v. Gore, Snowden v.

Hughes, 321 U.S. 1 (1943), and Marks v. Stinson. Upon information and

belief, a substantial portion of the approximately 1.5 million absentee and mail




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votes in Defendant Counties should not have been counted. The vast majority

favored Biden, thus resulting in returns indicating Biden won Pennsylvania.

   195. Where Democrat-controlled counties barred the Campaign’s poll

watchers from performing their statutorily authorized duties to the Campaign,

Republican controlled counties, like York, Lancaster and Adams counties

allowed all poll watchers- Republican and Democrat alike to observe the voting

process without obstruction.

   196. In York County, for example, an attorney for the York County

Republican Party who served as Legal Counsel to the Party and as a duly

credentialed poll watcher, and supervised non-attorney poll watchers in York

County on Election Day, November 3, 2020 personally observed all aspects of

the voting process including in-person voting, the opening of mail-in ballots,

and the opening of provisional ballots. This attorney stated that he observed no

deficiencies or impediments to the open and transparent observation of the

election process, while at the same time Pennsylvania poll waters in the City of

Philadelphia experienced the exact opposite while trying to exercise the

privilege of poll watching.

   197. Likewise, in York County, Jared M. Mellott, a licensed attorney and

dually credentialed poll watcher personally observed the process of mail-in

ballots being opened and scanned by the York County Office of Elections on



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election day. Since election day, he has supervised other poll watchers and

observed the opening and review of provisional ballots in York County. In all

these times, Mr. Mellott neither saw nor was aware of any deficiencies or

impediments to the open and transparent observation of the processing of

ballots.

   198. The statutorily valid and constitutionally approved process in York

County , when compared to democrat -run counties where such required

procedures, safe guards, and other constitutionally required validation did not

occur creates a very clear case of a 14th Amendment violation of the Equal

Protection clause. Bush, 531 U.S. at 104-05.

   199. It is patently clear that citizens of Pennsylvania were treated

differently depending on their county of residency in violation of the Equal

Protection Clause of the Constitution of the United States. Poll watchers

experienced disparate treatment in the discharge of the duties county to county

as did voters who cast a “naked ballot.”

   200. Equal enforcement of election laws is necessary to preserve our most

basic and fundamental rights.

   201. Equal protection is stringently enforced where laws affect the exercise

of fundamental rights, including the right to vote.




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   202. In statewide and federal elections conducted in the Commonwealth of

Pennsylvania, including without limitation the November 3, 2020 General

Election, all candidates, political parties, and voters, including without

limitation Plaintiffs, have a vested interest in being present and having

meaningful access to observe and monitor the electoral process in each County

to ensure that it is properly administered in every election district and otherwise

free, fair, and transparent.

   203. Moreover, through its provisions involving watchers and

representatives, the Pennsylvania Election Code ensures all candidates and

political parties in each county, including the Trump Campaign, have

meaningful access to observe and monitor the electoral process to ensure it is

properly administered in every election district and otherwise free, fair, and

transparent. See, e.g., 25 P.S. §§ 3146.8(b) & (g)(1.1)-(2).

   204. Defendants have a duty to treat voting citizens in each County in the

same manner as the citizens in other counties in Pennsylvania.

   205. Rather than heeding these mandates and duties, Defendants denied the

Trump Campaign equal rights to meaningful access to observe and monitor the

electoral process enjoyed by citizens in other Pennsylvania counties by: (a)

mandating that representatives at the pre-canvass and canvass of all absentee

and mail-ballots be either Pennsylvania barred attorneys or qualified registered



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electors of the county in which they sought to observe and monitor; and (b) not

allowing watchers and representatives to visibly see and review all envelopes

containing official absentee and mail-in ballots either at or before they were

opened and/or when such ballots were counted and recorded. Instead,

Defendants refused to credential the Trump Campaign’s submitted watchers

and representatives and/or kept Trump Campaign’s watchers and

representatives by security and metal barricades from the areas where

meaningful inspection, opening, and counting of absentee and mail-in ballots

were taking place. Consequently, Defendants created a system, contrary to state

law, whereby it was physically impossible for the candidates and political

parties to view the ballots and verify that illegally cast ballots were not opened

and counted in order to favor Biden over Trump.

   206. Philadelphia County Boards of Elections in Republican controlled

counties, such as York County, provided watchers and representatives of

candidates and political parties, including without limitation watchers and

representatives of both the Trump Campaign and the Biden Campaign, with

appropriate access to view absentee and mail-in ballots being pre-canvassed and

canvassed by those Boards and without restricting representatives by any

county residency or Pennsylvania bar licensure requirements.




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   207. Pennsylvania County Board of Electors in Democratic controlled

counties, such as Philadelphia County, prevented Trump campaign watchers

from observing the vote processing and counting.

   208. Defendants intentionally and/or arbitrarily and capriciously denied

Plaintiffs access to and/or obstructed actual observation and monitoring of the

absentee and mail-in ballots being pre-canvassed and canvassed by Defendants,

depriving them of the equal protection of those state laws enjoyed by citizens in

other Counties.

   209. Defendants have acted and will continue to act under color of state

law to violate Plaintiffs’ right to be present and have actual observation and

access to the electoral process as secured by the Equal Protection Clause of the

United States Constitution.

   210. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

                                   COUNT III
                  U.S. Const. Art. I, §4, cl. 1 & Art. II, § 1, cl. 2
                  Violation of the Electors & Elections Clauses
                               Denial of Observers

   211. Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.

   212. The Electors Clause states that “[e]ach State shall appoint, in such

Manner as the Legislature thereof may direct, a Number of Electors” for

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President. U.S. Const. art. II, § 1, cl. 2 (emphasis added). Likewise, the

Elections Clause of the U.S. Constitution states that “[t]he Times, Places, and

Manner of holding Elections for Senators and Representatives, shall be

prescribed in each State by the Legislature thereof.” U.S. Const. art. I, § 4, cl. 1

(emphasis added).

   213. The Legislature is “the representative body which ma[kes] the laws of

the people.” Smiley, 285 U.S. at 365.

   214. Regulations of congressional and presidential elections, thus, “must be

in accordance with the method which the state has prescribed for legislative

enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep.

Redistricting Comm’n, 135 S. Ct. 2652, 2668 (2015).

   215. In Pennsylvania, “[t]he legislative power of this Commonwealth shall

be vested in a General Assembly, which shall consist of a Senate and a House

of Representative.” Pa. Const. Art. II, § 1. See also Winston, 91 A. at 522;

Patterson, 60 Pa. at 75.

   216. Defendants, as a member of the Governor’s Executive Board and

county boards of elections, are not part of the General Assembly and cannot

exercise legislative power. Rather, Defendants’ power is limited to “tak[ing]

care that the laws be faithfully executed.” Pa. Const. Art. IV, § 2.




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   217. Because the United States Constitution reserves for the General

Assembly the power to set the time, place, and manner of holding elections for

the President and Congress, county boards of elections and state executive

officers have no authority to unilaterally exercise that power, much less to hold

them in ways that conflict with existing legislation.

   218. Through its provisions involving watchers and representatives, the

Pennsylvania Election Code ensures that all candidates and political parties,

including without limitation Plaintiff, the Trump Campaign, shall be “present”

and have meaningful access to observe and monitor the electoral process to

ensure that it is properly administered in every election district and otherwise

free, fair, and transparent. See, e.g., 25 P.S. §§ 3146.8(b) & (g)(1.1)-(2).

   219. Defendants are not the legislature, and their unilateral decisions to

implement, and/or override rules and procedures that deny Plaintiffs the ability

to be “present” and have meaningful access to observe and monitor the electoral

process violates the Electors and Elections Clauses of the United States

Constitution.

   220. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.




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                                COUNT IV
                          Fourteenth Amendment
                 U.S. Const. Amend. XIV, 42 U.S.C. § 1983
                         Denial of Equal Protection
      Disparate Treatment of Absentee/Mail-In Voters Among Different
               Counties Designed to Favor Biden Over Trump

   221. Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.

   222. Democrats who controlled the Defendant County Election Boards

engaged in a deliberate scheme of intentional and purposeful discrimination to

favor presidential candidate Biden over by excluding Republican and Trump

Campaign observers from the canvassing of the mail ballots in order to conceal

their decision not to enforce requirements that the declarations on the outside

envelopes are properly filled out, signed, and dated and had secrecy envelopes

as required by 15 PA.S 3146.6(a) and 3150.16(a) in order to count absentee and

mail ballots which should have been disqualified.

   223. The Defendant County Election Boards carried out this scheme

knowing that the absentee and mail ballots which should have been disqualified

would overwhelmingly favor Biden because of the registrations of the persons

who voted by mail, as well as their knowledge and participation in the

Democrat/Biden election strategy, which favored mail voting, compared to the

Republican/Trump strategy, which favored voting in person at the polls. As a

result, the Defendant County Election Boards deliberately favored Biden with

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votes that should not have been counted, effectively stuffing the ballot box in

his favor with illegal votes in violation of Reynolds, Bush v. Gore, Snowden v.

Hughes, 321 U.S. 1 (1943), and Marks v. Stinson. Upon information and belief,

a substantial portion of the approximately 1.5 million absentee and mail-in

votes in Defendant Counties should not have been counted. The vast majority

favored Biden, thus resulting in returns indicating Biden won Pennsylvania.

   224. George Andrew Gallenthin has been resident of Pennsylvania for 28

years. On November 3, 2020, Mr. Gallenthin was designated as a “credentialed”

observer of vote counting and verification. On November 4, 2020, Mr.

Gallenthin arrived at the Philadelphia Convention Center to observe city

employees count absentee and mail-in ballots. However, he was barred by city

officials from entering the area where the vote counting was taking place. Mr.

Gallenthin waited in the lobby area at the Convention Center from 10:00 am to

4:00 pm but was never allowed to observe the vote counting and verification

area. Mr. Gallenthin also served as an official observer for the 2020 Trump

campaign in Bucks County Pennsylvania from 10:00 pm November 3 through

7:00 am November 4. He was able to observe, without issue, the ballot

processing in Bucks County, as were Biden campaign watchers.

   225. Where Democrat-controlled counties barred the Trump Campaign’s

poll watchers from performing their statutorily authorized duties to the



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Campaign, Republican controlled counties, like York, Lancaster and Adams

counties allowed all poll watchers- Republican and Democrat alike to observe

the voting process without obstruction.

   226. In York County, for example, an attorney for the York County

Republican Party who served as Legal Counsel to the Party and as a duly

credentialed poll watcher who supervised non-attorney poll watchers in York

County on Election Day, November 3, 2020 personally observed, all aspects of

the voting process including in-person voting, the opening of mail-in ballots,

and the opening of provisional ballots. This attorney has indicated that he

observed no deficiencies or impediments to the open and transparent

observation of the election process, while at the same time Pennsylvania poll

waters in the City of Philadelphia experienced the exact opposite while trying to

exercise the privilege of poll watching.

   227. Likewise, in York County, Jared M. Mellott, a licensed attorney and

dually credentialed poll watcher personally observed the process of mail-in

ballots being opened and scanned by the York County Office of Elections on

election day. Since election day, he supervised other poll watchers and observed

the opening and review of provisional ballots in York County. In all these

times, Mr. Mellott neither saw nor was aware of any deficiencies or




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impediments to the open and transparent observation by persons qualified to

watch the processing of ballots.

   228. The statutorily valid and constitutionally approved process in York

County, when compared to Democrat-run counties where such required

procedures, safe guards, and other constitutionally required validation did not

occur, creates a clear case of a 14th Amendment violation of the Equal

Protection clause. Bush, 531 U.S. at 104-05.

   229. It is patently clear that citizens of Pennsylvania were treated

differently county to county in violation of the Equal Protection Clause of the

Constitution of the United States. Poll watchers experienced disparate treatment

in the discharge of the duties county to county as did voters who cast a “naked

ballot.”

   230. The Fourteenth Amendment of the United States Constitution protects

the “the right of all qualified citizens to vote … in federal elections.” Reynolds,

77 U.S. at 554. Consequently, state election laws may not “deny to any person

within” the state’s “jurisdiction the equal protection of the laws.” U.S. Const.

amend. XIV, §1, cl. 4.

   231. The Equal Protection Clause requires States to “‘avoid arbitrary and

disparate treatment of the members of its electorate.’” Charfauros v. Bd. of

Elections, 249 F.3d 941, 951 (9th Cir. 2001) (quoting Bush, 531 U.S. at 105).



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That is, each citizen “has a constitutionally protected right to participate in

elections on an equal basis with other citizens in the jurisdiction.” Dunn v.

Bloomstein, 405 U.S. 330, 336 (1972). A qualified voter “is no more nor no less

so because he lives in the city or on the farm. This is the clear and strong

command of our Constitution’s Equal Protection Clause.” Reynolds, 377 U.S. at

568; see also Gray v. Sanders, 372 U.S. 368, 380 (1963) (“The idea that every

voter is equal to every other voter in his State, when he casts his ballot in favor

of one of several competing candidates, underlies many of [the Supreme

Court’s] decisions.”). “[H]aving once granted the right to vote on equal terms,

the State may not, by later arbitrary and disparate treatment, value one person’s

vote over that of another.” Bush, 531 U.S. at 104-05.

   232. “The right to vote extends to all phases of the voting process, from

being permitted to place one’s vote in the ballot box to having that vote actually

counted. Thus, the right to vote applies equally to the ‘initial allocation of the

franchise’ as well as ‘the manner of its exercise.’ Once the right to vote is

granted, a state may not draw distinctions between voters that are inconsistent

with the guarantees of the Fourteenth Amendment’s equal protection clause.”

Pierce, 324 F. Supp. 2d at 695.

   233. “[T]reating voters differently” thus “violate[s] the Equal Protection

Clause” when the disparate treatment is the result of arbitrary, ad hoc processes.



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Charfauros, 249 F.3d at 954. Indeed, a “minimum requirement for non-

arbitrary treatment of voters [is] necessary to secure the fundamental right [to

vote].” Bush, 531 U.S. at 105.

   234. The use of “standardless” procedures can violate the Equal Protection

Clause. Bush, 531 U.S. at 103. “The problem inheres in the absence of specific

standards to ensure … equal application” of even otherwise unobjectionable

principles. Id. at 106. Any voting system that involves discretion by decision

makers about how or where voters will vote must be “confined by specific rules

designed to ensure uniform treatment.” Id. See also Thomas v. Independence

Twp., 463 F.3d 285, 297 (3d Cir. 2006) (Equal Protection Clause prohibits the

“selective enforcement” of a law based on an unjustifiable standard); United

States v. Batchelder, 442 U.S. 114, 125 n.9, 99 S. Ct. 2198, 60 L. Ed. 2d 755

(1979).

   235. Allowing a patchwork of different rules from county to county, and as

between similarly situated absentee and mail-in voters, in a statewide election

involving federal and state candidates implicates equal protection concerns.

Pierce, 324 F. Supp. 2d at 698-99. See also Gray, 372 U.S. at 379-81 (a county

unit system which weights the rural vote more heavily than the urban vote and

weights some small rural counties heavier than other larger rural counties




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violates the Equal Protection Clause and its one-person, one-vote

jurisprudence).

   236. Equal enforcement of election laws is necessary to preserve our most

basic and fundamental rights. Moreover, the requirement of equal treatment is

particularly stringently enforced as to laws that affect the exercise of

fundamental rights, see Reed v. Town of Gilbert, 135 S. Ct. 2218, 2226 (2015),

including the right to vote.

   237. Because of Defendants’ conduct, voters in some counties have been

and being treated differently than voters in other counties—and for no good

reason. A voter in any of the counties covered by Defendant County Elections

Boards, who received notice of a defective mail-in ballot and an opportunity to

cure it by correcting the ballot or casting a new one before Election Day or by

casting a provisional ballot at the polling place on Election Day, has had or may

have his vote counted. But voters like Plaintiff Henry, who received no such

opportunity, will not, as their votes were rejected as having been improperly

cast and thus void. The appropriate remedy is to exclude the votes of those

who received an unauthorized opportunity to cure.

   238. That “different standards have been employed in different counties

across the Commonwealth of Pennsylvania to determine whether an absentee

ballot should be counted” is the “kind of disparate treatment” that violates “the



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equal protection clause because uniform standards will not be used statewide to

discern the legality of a vote in a statewide election.” Pierce, 324 F. Supp. 2d at

699.

   239. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

                                    COUNT V
                       U.S. Const. Art. I, §4, & Art. II, § 1
                  Violation of the Electors & Elections Clauses
                         Unauthorized Notice and Cure

   240. Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.

   241. The Electors Clause states that “[e]ach State shall appoint, in such

Manner as the Legislature thereof may direct, a Number of Electors” for

President. Art. II, § 1, cl. 2 (emphasis added). Likewise, the Elections Clause of

the U.S. Constitution states that “[t]he Times, Places, and Manner of holding

Elections for Senators and Representatives, shall be prescribed in each State by

the Legislature thereof.” Art. I, § 4, cl. 1 (emphasis added).

   242. The Legislature is “the representative body which ma[kes] the laws of

the people.” Smiley, 285 U.S. at 1932.

   243. Regulations of congressional and presidential elections, thus, “must be

in accordance with the method which the state has prescribed for legislative




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enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep.

Redistricting Comm’n, 135 S. Ct. 2652, 2668 (2015).

   244. An unverified ballot is an unverified vote. Unverified votes make for

unverified election results. Unverified election results undermine faith in

democracy itself.

   245. In Pennsylvania, “[t]he legislative power of this Commonwealth shall

be vested in a General Assembly, which shall consist of a Senate and a House

of Representative.” Pa. Const. Art. II, § 1. See also Winston, 91 A. at 522;

Patterson, 60 Pa. at 75.

   246. Defendants, as a member of the Governor’s Executive Board and

county boards of elections, are not part of the General Assembly and cannot

exercise legislative power. Rather, Defendants’ power is limited to “tak[ing]

care that the laws be faithfully executed.” Pa. Const. Art. IV, § 2.

   247. Because the United States Constitution reserves for the General

Assembly the power to set the time, place, and manner of holding elections for

the President and Congress, county boards of elections and state executive

officers have no authority to unilaterally exercise that power, much less to hold

them in ways that conflict with existing legislation.

   248. According to the Pennsylvania Supreme Court, “although the Election

Code provides the procedures for casting and counting a vote by mail, it does



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not provide for the ‘notice and opportunity to cure’ procedure[.]” Pa.

Democratic Party, 2020 Pa. LEXIS 4872, at *56. Moreover, “[t]o the extent

that a voter is at risk for having his or her ballot rejected due to minor errors

made in contravention of those requirements, … the decision to provide a

‘notice and opportunity to cure’ procedure to alleviate that risk is one best

suited for the Legislature[,] . . . particularly in light of the open policy questions

attendant to that decision, including what the precise contours of the procedure

would be, how the concomitant burdens would be addressed, and how the

procedure would impact the confidentiality and counting of ballots, all of which

are best left to the legislative branch of Pennsylvania's government.” Id.

   249. Defendants are not the legislature, and their unilateral decision to

create a cure procedure violates the Electors and Elections Clauses of the

United States Constitution.

   250. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

                                COUNT VI
              Fourteenth Amendment Equal Protection Clause
                 U.S. Const. Amend. XIV, 42 U.S.C. § 1983
                           Denial of Due Process
      Disparate Treatment of Absentee/Mail-In Voters Among Different
               Counties Designed to Favor Biden Over Trump

   251. Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.

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   252. Democrats who controlled the Defendant County Election Boards

engaged in a deliberate scheme of intentional and purposeful discrimination to

favor presidential candidate Biden over Trump by excluding Republican and

Trump Campaign observers from the canvassing of the mail ballots in order to

conceal their decision not to enforce requirements that declarations on the

outside envelopes are properly filled out, signed, and dated and had secrecy

envelopes as required by 15 PA.S 3146.6(a) and 3150.16(a) in order to count

absentee and mail ballots which should have been disqualified.

   253. The Defendant County Election Boards carried out this scheme

knowing that the absentee and mail ballots that should have been disqualified

would overwhelmingly favor Biden because of the registrations of persons who

voted by mail, as well as their knowledge and participation in the

Democrat/Biden election strategy, which favored mail-in voting, compared to

the Republican/Trump strategy, which favored voting in person at the polls. As

a result, Defendant County Election Boards deliberately favored Biden with

votes which should not have been counted, effectively stuffing the ballot box in

his favor with illegal votes in violation of Reynolds, Bush v. Gore, Snowden v.

Hughes, 321 U.S. 1 (1943), and Marks v. Stinson. Upon information and

belief, a substantial portion of the approximately 1.5 million absentee and mail

votes in the Defendant Counties should not have been counted, and the vast



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majority favored Biden, thus resulting in returns indicating Biden won

Pennsylvania.

   254. George Andrew Gallenthin has been a resident of Pennsylvania for 28

years. On November 3, 2020, Mr. Gallenthin was designated as a “credentialed”

observer of vote counting and verification. On November 4, 2020, Mr.

Gallenthin arrived at the Philadelphia Convention Center to observe city

employees count absentee and mail-in ballots. However, he was barred by city

officials from entering the area where the vote counting was taking place. Mr.

Gallenthin waited in the lobby area at the Convention Center from 10:00 am to

4:00 pm but was never allowed to observe the vote counting and verification

area. Mr. Gallenthin also served as an official observer for the 2020 Trump

campaign in Bucks County Pennsylvania from 10:00 pm November 3 through

7:00 am November 4. He was able to observe, without issue, the ballot

processing in Bucks County.

   255. Voting is a fundamental right protected by the Fourteenth Amendment

to the United States Constitution.

   256. The Fourteenth Amendment protects the right to vote from conduct by

state officials which seriously undermines the fundamental fairness of the

electoral process. Marks v. Stinson, 19 F.3d 873, 889 (3d Cir. 1994); Griffin,

570 F.2d at 1077-78. “[H]aving once granted the right to vote on equal terms,



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the State may not, by later arbitrary and disparate treatment, value one person’s

vote over that of another.” Bush, 531 U.S. at 104-05.

   257. The United States Constitution entrusts state legislatures to set the

time, place, and manner of congressional elections and to determine how the

state chooses electors for the presidency. See U.S. Const. Art. I, § 4, cl. 1& Art.

II, § 1, cl. 2.

   258. In Pennsylvania, “[t]he legislative power of this Commonwealth shall

be vested in a General Assembly, which shall consist of a Senate and a House

of Representative.” Pa. Const. Art. II, § 1. See also Winston, 91 A. at 522;

Patterson, 60 Pa. at 75.

   259. Defendants, as a member of the Governor’s Executive Board and

county executive agencies, are not part of the General Assembly and cannot

exercise legislative power. Rather, Defendants’ power is limited to “tak[ing]

care that the laws be faithfully executed.” Pa. Const. Art. IV, § 2.

   260. Although the Pennsylvania General Assembly may enact laws

governing the conduct of elections, “no legislative enactment may contravene

the requirements of the Pennsylvania or United States Constitutions.” Shankey,

257 A. 2d at 898.

   261. According to the Pennsylvania Supreme Court, “although the Election

Code provides the procedures for casting and counting a vote by mail, it does



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not provide for the ‘notice and opportunity to cure’ procedure[.]” Pa.

Democratic Party, 2020 Pa. LEXIS 4872, at *56. Moreover, “[t]o the extent

that a voter is at risk for having his or her ballot rejected due to minor errors

made in contravention of those requirements, … the decision to provide a

‘notice and opportunity to cure’ procedure to alleviate that risk is one best

suited for the Legislature[,] . . . particularly in light of the open policy questions

attendant to that decision, including what the precise contours of the procedure

would be, how the concomitant burdens would be addressed, and how the

procedure would impact the confidentiality and counting of ballots, all of which

are best left to the legislative branch of Pennsylvania's government.” Id.

   262. Defendants are not the legislature, and their unilateral decision to

create and implement a cure procedure for some but not all absentee and mail-in

voters in this Commonwealth violates the Due Process Clause of the United

States Constitution.

   263. Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.




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                                    COUNT VII
                             Fourteenth Amendment
    U.S. Const. Art. I § 4, cl. 1; Art. II, § 1, cl. 2; Amend. XIV, 42 U.S.C. §
                                        1983
       Due Process is Denied When the Voting Protections Are Denied

   264. Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.

   265. This cause of action concerns observation of the Philadelphia County

Board of Elections pre-canvassing and canvassing of mail-in and absentee

ballots at the Philadelphia Convention Center.

   266. The Philadelphia County Board of Elections erected a waist-high

fence that blocked access to observe any closer than 15-18 feet.

   267. The Philadelphia County Board of Elections’ setup had some tables in

the area over one hundred feet away from the edge of the waist-high fence.

   268. The Pennsylvania Election Code prohibits the security envelope from

containing any “text, mark or symbol which reveals the identity of the elector,

the elector’s political affiliation or the elector’s candidate preference.” 25 P.S. §

3146.8(g)(4)(ii).

   269. Plaintiff sent a designated representative, Attorney Jeremy Mercer, to

observe the pre-canvassing and canvassing process.

   270. Attorney Mercer testified that while he could see the Philadelphia

County Board of Elections’ employees examining the back of the ballot-return



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envelopes, he could not read the actual declarations on the ballot envelopes and

could not see whether there were any “text, mark or symbol which reveals the

identity of the elector, the elector’s political affiliation or the elector’s candidate

preference” on the security envelopes.

   271. Attorney Mercer testified that he could not see individual markings on

the secrecy envelopes or determine whether the signature on all the ballot

envelopes was properly completed.

   272. The Pennsylvania Election Code provides for the watchers to be

“present” and “to remain in the room.” 25 P.S. § 2650; 25 P.S. § 3146.8(b) and

(g); 25 P.S. § 3146.8(g)(2).

   273. These provisions of the Pennsylvania Election Code have as their

purpose “maintaining the integrity of the elective process in the

Commonwealth.”

   274. Unverified election results undermine faith in the integrity of the

elections and indeed of democracy itself. Unverified votes make for unverified

election results. An unverified ballot is an unverified vote.

   275. Pennsylvania Commonwealth Judge Christine Fizzano Cannon found

that, “based on Attorney Mercer’s testimony that, when he was physically

present in the room where the pre-canvassing and canvassing processes were

occurring, the distance from which he was observing those processes, as well as



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the physical barriers in the room, prevented him from observing the ballots

being processed, the ballot envelopes, the secrecy envelopes, and any markings

on the secrecy envelopes, depriving him of the ability to actually observe those

processes “in any meaningful way”. Single-Judge Order of the Honorable

Christine Fizzano Cannon of the Commonwealth Court at No. 1094 CD 2020

(November 5, 2020).

   276. These provisions for watchers to be present should be broadly

interpreted consistent with their overall purpose of allowing public observation

of the vote and the counting thereof.

   277. The plain meaning and purpose of the statutes at issue is to provide

the public the opportunity to observe and vet the canvassing and tabulation of

the vote.

   278. To allow observation without the ability to see is akin to allow

listening without the ability to hear.

   279. A violation of Due Process results when the methods legislatively

provided for observing and “maintaining the integrity of the elective process”

are abridged and truncated

   280. Based on the Pennsylvania Supreme Court opinion that declared

observers merely present, Plaintiffs are additionally harmed by further




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depravation of their Due Process rights under the Constitution. Plaintiffs’

franchise was denied by direct, improper, and unconstitutional acts.

   281. Based on the Pennsylvania Supreme Court opinion which held that

observation need not be meaningful, the holding thus permits votes to be

counted by counties who followed the meaningful observation argument and by

counties refusing watchers. Pennsylvania counties followed the law, logic, and

tradition of employing observers to not only be present but to ensure the

elements of the election code were being strictly followed. This disparate

treatment between Pennsylvania counties created a textbook example of Equal

protection violation, prohibited by the Unites States Supreme Court (Bush v.

Gore).

   282. Pennsylvania’s executive and judicial branches, by creating a new

legal definition and standard for election observers and their role in ensuring

transparency and accountability, have departed from the overwhelmingly

majority opinion among democracies. All states but Pennsylvania recognize the

role of observers in this process, and Pennsylvania has created and Equal

Protection violation among other U.S. states. Plaintiffs have been harmed by the

dilution of their vote in their county, their Commonwealth, their nation.

   283. With the Pennsylvania Supreme Court ruling (In re: Canvassing

Operation Appeal of: City of Philadelphia Board of Elections, PA Supreme



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Court, no. 30EAP 2020) (November 17, 2020), Plaintiffs have exhausted state

court remedies regarding observers, have no adequate remedy at law, and will

suffer serious and irreparable harm unless the injunctive relief requested herein

is granted.

                                COUNT XIII
             Fourteenth Amendment Equal Protection Clause
                 U.S. Const. Amend. XIV, 42 U.S.C. § 1983
     Equal Protection is Denied When the Voting Protections Are Denied

   284. Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.

   285. This cause of action concerns observation of the Philadelphia County

Board of Elections pre-canvassing and canvassing of mail-in and absentee

ballots at the Philadelphia Convention Center.

   286. The Philadelphia County Board of Elections erected a waist-high

fence that blocked access to observe any closer than 15-18 feet.

   287. The Philadelphia County Board of Elections’ setup had some tables in

the area over one hundred feet away from the edge of the waist-high fence.

   288. The Pennsylvania Election Code prohibits the security envelope from

containing any “text, mark or symbol which reveals the identity of the elector,

the elector’s political affiliation or the elector’s candidate preference.” 25 P.S. §

3146.8(g)(4)(ii).




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   289. Plaintiff sent a designated representative, Attorney Jeremy Mercer, to

observe the pre-canvassing and canvassing process.

   290. Attorney Mercer testified that while he could see the Philadelphia

County Board of Elections’ employees examining the back of the ballot-return

envelopes, he could not read the actual declarations on the ballot envelopes and

could not see whether there were any “text, mark or symbol which reveals the

identity of the elector, the elector’s political affiliation or the elector’s candidate

preference” on the security envelopes.

   291. Attorney Mercer testified that he could not see individual markings on

the secrecy envelopes or determine whether the signature on all the ballot

envelopes was properly completed.

   292. The Pennsylvania Election Code provides for the watchers to be

“present” and “to remain in the room.” 25 P.S. § 2650; 25 P.S. § 3146.8(b) and

(g); 25 P.S. § 3146.8(g)(2).

   293. These provisions of the Pennsylvania Election Code have as their

purpose “maintaining the integrity of the elective process in the

Commonwealth.”

   294. Unverified election results undermine faith in the integrity of the

elections and indeed of democracy itself. Unverified votes make for unverified

election results. An unverified ballot is an unverified vote.



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   295. Pennsylvania Commonwealth Judge Christine Fizzano Cannon found

that, “based on Attorney Mercer’s testimony that, while he was physically

present in the room where the pre-canvassing and canvassing processes were

occurring, the distance from which he was observing those processes, as well as

the physical barriers in the room, prevented him from observing the ballots

being processed, the ballot envelopes, the secrecy envelopes, and any markings

on the secrecy envelopes, depriving him of the ability to actually observe those

processes ‘in any meaningful way’.” Single-Judge Order of the Honorable

Christine Fizzano Cannon of the Commonwealth Court at No. 1094 CD 2020

(November 5, 2020).

   296. These provisions for watchers to be present should be broadly

interpreted consistent with their overall purpose of allowing public observation

of the vote and the counting thereof.

   297. The plain meaning and purpose of the statutes at issue is to provide

the public the opportunity to observe and vet the canvassing and tabulation of

the vote.

   298. To allow observation without the ability to see is akin to allow

listening without the ability to hear.




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   299. A violation of Due Process results when the methods legislatively

provided for observing and “maintaining the integrity of the elective process”

are abridged and truncated

   300. Based on the Pennsylvania Supreme Court opinion that declared

observers merely be present, but not be provided meaningful review, Plaintiffs

are additionally harmed by further depravation of their Due Process rights under

the Constitution. Plaintiffs’ franchise was denied by direct, improper, and

unconstitutional acts.

   301. Based on the Pennsylvania Supreme Court opinion that declared

observers merely present, which is a patently inconsistent opinion by the

Pennsylvania Supreme Court as many Pennsylvania counties followed the law,

logic, and tradition of employing observers to not only be present but to ensure

the elements of the election code were being strictly followed. This disparate

treatment between Pennsylvania counties created a textbook example of Equal

protection violation, prohibited by the Unites States Supreme Court (Bush v.

Gore).

   302. Pennsylvania’s executive and judicial branches, by creating a new

legal definition and standard for election observers and their role in ensuring

transparency and accountability, have departed from the overwhelmingly

majority opinion among democracies. All states but Pennsylvania recognize the



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role of observers in this process, and Pennsylvania has created an Equal

Protection violation among other U.S. states. Plaintiffs have been harmed by the

dilution of their vote in their county, their Commonwealth, their nation.

   303. With the Pennsylvania Supreme Court ruling (In re: Canvassing

Operation Appeal of: City of Philadelphia Board of Elections, PA Supreme

Court, no. 30EAP 2020) (November 17, 2020), Plaintiffs have exhausted state

court remedies regarding observers, have no adequate remedy at law, and will

suffer serious and irreparable harm unless the injunctive relief requested herein

is granted.

                                 COUNT IX
                     U.S. Const. Art. I, §4, & Art. II, § 1
Violation of the Electors & Elections Clauses When the Voting Protections
                                Are Denied

   304. Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.

   305. This cause of action concerns observation of the Philadelphia County

Board of Elections pre-canvassing and canvassing of mail-in and absentee

ballots at the Philadelphia Convention Center.

   306. The Philadelphia County Board of Elections erected a waist-high

fence that blocked access to observe any closer than 15-18 feet.

   307. The Philadelphia County Board of Elections’ setup had some tables in

the area over one hundred feet away from the edge of the waist-high fence.

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   308. The Pennsylvania Election Code prohibits the security envelope from

containing any “text, mark or symbol which reveals the identity of the elector,

the elector’s political affiliation or the elector’s candidate preference.” 25 P.S. §

3146.8(g)(4)(ii).

   309. Plaintiff sent a designated representative, Attorney Jeremy Mercer, to

observe the pre-canvassing and canvassing process.

   310. Attorney Mercer testified that while he could see the Philadelphia

County Board of Elections’ employees examining the back of the ballot-return

envelopes, he could not read the actual declarations on the ballot envelopes and

could not see whether there were any “text, mark or symbol which reveals the

identity of the elector, the elector’s political affiliation or the elector’s candidate

preference” on the security envelopes.

   311. Attorney Mercer testified that he could not see individual markings on

the secrecy envelopes or determine whether the signature on all the ballot

envelopes was properly completed.

   312. The Pennsylvania Election Code provides for the watchers to be

“present” and “to remain in the room.” 25 P.S. § 2650; 25 P.S. § 3146.8(b) and

(g); 25 P.S. § 3146.8(g)(2).




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   313. These provisions of the Pennsylvania Election Code have as their

purpose “maintaining the integrity of the elective process in the

Commonwealth.”

   314. Unverified election results undermine faith in the integrity of the

elections and indeed of democracy itself. Unverified votes make for unverified

election results. An unverified ballot is an unverified vote.

   315. Pennsylvania Commonwealth Judge Christine Fizzano Cannon found

that, “based on Attorney Mercer’s testimony that, while he was physically

present in the room where the pre-canvassing and canvassing processes were

occurring, the distance from which he was observing those processes, as well as

the physical barriers in the room, prevented him from observing the ballots

being processed, the ballot envelopes, the secrecy envelopes, and any markings

on the secrecy envelopes, depriving him of the ability to actually observe those

processes ‘in any meaningful way’.” Single-Judge Order of the Honorable

Christine Fizzano Cannon of the Commonwealth Court at No. 1094 CD 2020

(November 5, 2020).

   316. These provisions for watchers to be present should be broadly

interpreted consistent with their overall purpose of allowing public observation

of the vote and the counting thereof.




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   317. The plain meaning and purpose of the statutes at issue is to provide

the public the opportunity to observe and vet the canvassing and tabulation of

the vote.

   318. To allow observation without the ability to see is akin to allow

listening without the ability to hear.

   319. A violation of Due Process results when the methods legislatively

provided for observing and “maintaining the integrity of the elective process”

are abridged and truncated

   320. Based on the Pennsylvania Supreme Court opinion that declared

observers be merely present but not given meaningful review, Plaintiffs are

additionally harmed by further depravation of their Due Process rights under the

Constitution. Plaintiffs’ franchise was denied by direct, improper, and

unconstitutional acts.

   321. The Pennsylvania Supreme Court opinion that declared that the law

only requires that observers be present, is a patently inconsistent opinion by the

Pennsylvania Supreme Court, as many Pennsylvania counties followed the law,

logic, and tradition of employing observers to not only be present but to ensure

the elements of the election code were being strictly followed. this disparate

treatment between Pennsylvania counties created a textbook example of an




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Equal Protection violation, prohibited by the Unites States Supreme Court

(Bush v. Gore).

   322. Pennsylvania’s executive and judicial branches, by creating a new

legal definition and standard for election observers and their role in ensuring

transparency and accountability, have departed from the overwhelmingly

majority opinion among democracies. The majority of U.S. states recognize the

role of observers in this process, and Pennsylvania has created and Equal

Protection violation among other U.S. states. Plaintiffs have been harmed by the

dilution of their vote in their county, their Commonwealth, their nation.

   323. With the Pennsylvania Supreme Court ruling (In re: Canvassing

Operation Appeal of: City of Philadelphia Board of Elections, PA Supreme

Court, no. 30EAP 2020) (November 17, 2020), Plaintiffs have exhausted state

court remedies regarding observers, have no adequate remedy at law, and will

suffer serious and irreparable harm unless the injunctive relief requested herein

is granted.

                          PRAYER FOR RELIEF

   324. WHEREFORE, in addition to any other affirmative relief that the

Court may deem necessary and proper, Plaintiffs ask this Court to enter

judgment in their favor and provide the following alternative relief:




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   325. That, as a result of Defendants’ violations of the United States

Constitution and violations of other federal and state election laws, this Court

should enter an order, declaration, and/or injunction that prohibits Defendants

from certifying the results of the 2020 presidential general election in

Pennsylvania on a statewide basis;

   326. Ultimately, that, as a result of Defendants' violations of the United

States Constitution and violations of other federal and state election laws,

this Court should enter an order, declaration, and/or injunction prohibiting

Defendants from certifying the results of the General Elections which

include the tabulation of unauthorized votes, including mail ballots which

did not meet the statutory requirements, mail ballots which were cured

without authorization, and any other vote cast in violation of law, and,

instead, compel Defendants to certify the results of the election based solely

on the legal votes.

   327. Alternatively, that, as a result of Defendants' violations of the

United States Constitution and violations of other federal and state election

laws, this Court should enter an order, declaration, and/or injunction that the

results of the 2020 presidential general election are defective and providing

for the Pennsylvania General Assembly to choose Pennsylvania’s electors.




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     328. A temporary restraining order and preliminary injunction granting the

  above relief during the pendency of this action;

     329. Plaintiffs’ reasonable costs and expenses of this action, including

  attorneys’ fees; and cost; and

     330. Any and other such further relief that this Court deems equitable and

  just or to which Plaintiffs might be entitled.



                                                Respectfully submitted,


                                                /s/ Rudolph William Giuliani
                                                Rudolph William Giuliani
                                                NY Supreme Court ID No. 1080498

                                                /s/Marc A. Scaringi
                                                Marc A. Scaringi
                                                marc@scaringilaw.com
                                                PA Supreme Court ID No. 88346

                                                Brian C. Caffrey
                                                brian@scaringilaw.com
                                                PA Supreme Court ID No. 42667
                                                Scaringi Law
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                                                Harrisburg, PA 17110
                                                717-657-7770 (o)/ 717-657-7797 (f)
Date: November 19, 2020




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                                VERIFICATION


      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that I have

reviewed the foregoing Complaint and that the factual allegations are true and

correct.




Date: November 18, 2020                        /s/ James Fitzpatrick
                                               James Fitzpatrick, PA EDO Director
                                               Donald J. Trump for President, Inc.




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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                    :
PRESIDENT, INC., et al,                : CIVIL ACTION
                                       :
Plaintiffs                             : No. 4:20-cv-02078
                                       :
       v.                              : Judge Brann
                                       :
KATHY BOOCKVAR, et al,                 :
                                       :
       Defendants                      :

                         CERTIFICATE OF SERVICE

       I, Deborah A. Black, Paralegal for Scaringi Law, do hereby certify that I

served a true and correct copy of Plaintiffs’ Second Verified Complaint for

Declaratory and Injunctive Relief, in the above-captioned action, upon all parties

via CM/ECF.




Date: November 19, 2020                /s/ Deborah A. Black____________
                                       Deborah A. Black, Paralegal
                                       For Marc A. Scaringi, Esquire and
                                       Brian C. Caffrey, Esquire




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